Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 1 of 105 PageID 9964




                                Exhibit C

        Appendix of Exhibits to Amended Complaint

                              Vol. II of VI
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24               Page 2 of 105 PageID 9965



                             TABLE OF CONTENTS

  Vol. II

  Exhibit 21 2011 REMS for NDA 20-687 Mifeprex (mifepristone)
    Tablets, 200mg (June 8, 2011) (2011 REMS) ........................ App. 000465

  Exhibit 22 2016 FDA Letter to AAPLOG, Christian Medical &
    Dental Associations, and Concerned Women for America denying
    2002 Citizen Petition, Docket No. FDA-2002-P-0364 (Mar. 29,
    2016) (2016 Petition Denial) .................................................. App. 000477

  Exhibit 23 2016 FDA Letter to Danco Laboratories re: NDA 020687,
    Supp 20 (Mar. 29, 2016) ......................................................... App. 000511

  Exhibit 24 2000 Mifeprex Label ................................................ App. 000520

  Exhibit 25 Mifeprex    (mifepristone)             Prescribing              and        Label
    information (Jan. 2023) .......................................................... App. 000537

  Exhibit 26 Melissa J. Chen & Mitchell D. Creinin, Mifepristone with
    Buccal Misoprostol for Medical Abortion: A Systematic Review, 126
    Obstetrics & Gynecology 12 (Jul. 2015) ................................. App. 000557
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 3 of 105 PageID 9966




                              EXHIBIT 21

              2011 REMS for NDA 20-687 Mifeprex




                                                                  App. 000465
          Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 4 of 105 PageID 9967



                               NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg

                                              Danco Laboratories, LLC
                                                   PO Box 4816
                                               New York, NY 10185



              I.    GOALS

                    A.   To provide information to patients about the benefits and risks of MIFEPREX
                         before they make a decision whether to take the drug.

                    B.   To minimize the risk of serious complications by requiring prescribers to
                         certify that they are qualified to prescribe MIFEPREX and are able to assure
                         patient access to appropriate medical facilities to manage any complications.

              II.   REMS ELEMENTS

                    A.   Medication Guide

                         1.   A Medication Guide will be dispensed with each MIFEPREX prescription
                              in accordance with 21 CFR 208.24.

                         2.   Please see the appended Medication Guide.

                    B.   Elements to Assure Safe Use

                         1.   Healthcare providers who prescribe MIFEPREX will be specially
                              certified.

                              Danco will ensure that healthcare providers who prescribe MIFEPREX are
                              specially certified.

                              a. To become specially certified, each prescriber must complete and fax
                                 to the MIFEPREX distributor the one-time Prescriber’s Agreement,
                                 agreeing that they meet the qualifications and will follow the
                                 guidelines outlined in the Prescriber’s Agreement.

                              b. The following materials are part of the REMS and are appended:

                                 i. Prescriber’s Agreement.

                                 ii. Patient Agreement.




                                                                                              App. 000466
Reference ID: 2957855
          Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 5 of 105 PageID 9968



                        2.   MIFEPREX will be dispensed only in certain health care settings,
                             specifically clinics, medical offices, and hospitals.

                             Danco will ensure that MIFEPREX will only be available to be dispensed
                             in a clinic, medical office, or hospital, by or under the supervision of a
                             specially certified prescriber. MIFEPREX will not be distributed to or
                             dispensed through retail pharmacies.

                        3.   MIFEPREX will only be dispensed to patients with documentation of safe
                             use conditions.

                             Danco will ensure that MIFEPREX will only be dispensed to patients with
                             documentation of the following safe use conditions:

                             a. The patient has completed and signed the Patient Agreement, and the
                                Patient Agreement has been placed in the patient’s medical record.

                             b. The patient has been provided copies of the signed Patient Agreement
                                and the Medication Guide.

                   C.   Implementation System

                        The Implementation System will include the following:

                        1.   Distributors who distribute MIFEPREX will be certified. To become
                             certified, distributors must agree to:

                             a. Ship drug only to site locations identified by specially certified
                                prescribers in signed Prescriber’s Agreements, and maintain secure
                                and confidential records of shipments.

                             b. Follow all distribution guidelines, including those for storage, tracking
                                package serial numbers, proof of delivery, and controlled returns.

                        2.   Danco will assess the performance of the certified distributors with regard
                             to the following:

                             a. Whether a secure, confidential and controlled distribution system is
                                being maintained with regard to storage, handling, shipping, and return
                                of MIFEPREX.

                             b. Whether MIFEPREX is being shipped only to site locations identified
                                by specially certified prescribers in the signed Prescriber’s Agreement
                                and only available to be dispensed to patients in a clinic, medical
                                office, or hospital by or under the supervision of a specially certified
                                prescriber.




                                                          2
                                                                                              App. 000467
Reference ID: 2957855
          Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24               Page 6 of 105 PageID 9969



                        3.   If Danco determines the distributors are not complying with these
                             requirements, Danco will take steps to improve their compliance.

                   D.   Timetable for Submission of Assessments

                        Danco will submit REMS assessments to the FDA one year from the date of
                        the approval of the REMS and every three years thereafter. To facilitate
                        inclusion of as much information as possible while allowing reasonable time to
                        prepare the submission, the assessment reporting interval covered by each
                        assessment should conclude no earlier than 60 days before the submission date
                        for that assessment. Danco will submit each assessment so that it will be
                        received by the FDA on or before the due date.




                                                          3
                                                                                            App. 000468
Reference ID: 2957855
          Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                 Page 7 of 105 PageID 9970



                                               MEDICATION GUIDE
                                               Mifeprex® (MIF-eh-prex)
                                                    (mifepristone)

          Read this information carefully before taking Mifeprex* and misoprostol. It will help you
          understand how the treatment works. This MEDICATION GUIDE does not take the place of
          talking with your health care provider (provider).

          What is Mifeprex?
          Mifeprex is used to end an early pregnancy. It blocks a hormone needed for your pregnancy
          to continue. It is not approved for ending later pregnancies. Early pregnancy means it is 49
          days (7 weeks) or less since your last menstrual period began. When you use Mifeprex (Day
          1), you also need to take another medicine misoprostol, 2 days after you take Mifeprex (Day 3),
          to end your pregnancy. But, about 5-8 out of 100 women taking Mifeprex will need a surgical
          procedure to end the pregnancy or to stop too much bleeding.

          What is the most important information I should know about
          Mifeprex?
          What symptoms should I be concerned with? Although cramping and bleeding are an
          expected part of ending a pregnancy, rarely, serious and potentially life-threatening bleeding,
          infections, or other problems can occur following a miscarriage, surgical abortion, medical
          abortion, or childbirth. Prompt medical attention is needed in these circumstances. Serious
          infection has resulted in death in a very small number of cases; in most of these cases
          misoprostol was used in the vagina. There is no information that use of Mifeprex and
          misoprostol caused these deaths. If you have any questions, concerns, or problems, or if you
          are worried about any side effects or symptoms, you should contact your provider. Your
          provider’s telephone number is ________________________.

          Be sure to contact your provider promptly if you have any of the following:

                  Heavy Bleeding. Contact your provider right away if you bleed enough to soak through
                  two thick full-size sanitary pads per hour for two consecutive hours or if you are
                  concerned about heavy bleeding. In about 1 out of 100 women, bleeding can be so
                  heavy that it requires a surgical procedure (surgical abortion/D&C) to stop it.

                  Abdominal Pain or “Feeling Sick”. If you have abdominal pain or discomfort, or you
                  are “feeling sick”, including weakness, nausea, vomiting or diarrhea, with or without
                  fever, more than 24 hours after taking misoprostol, you should contact your provider
                  without delay. These symptoms may be a sign of a serious infection or another problem
                  (including an ectopic pregnancy, a pregnancy outside the womb).

                  Fever. In the days after treatment, if you have a fever of 100.4°F or higher that lasts for
                  more than 4 hours, you should contact your provider right away. Fever may be a
                  symptom of a serious infection or another problem (including an ectopic pregnancy).

          Take this MEDICATION GUIDE with you. When you visit an emergency room or a provider
          who did not give you your Mifeprex, you should give them your MEDICATION GUIDE so that




                                                                                               App. 000469
Reference ID: 2957855
          Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 8 of 105 PageID 9971


          they understand that you are having a medical abortion with Mifeprex.

          What to do if you are still pregnant after Mifeprex with misoprostol treatment. If you are
          still pregnant, your provider will talk with you about the other choices you have, including a
          surgical procedure to end your pregnancy. There is a chance that there may be birth defects if
          the pregnancy is not ended.

          Talk with your provider. Before you take Mifeprex, you should read this MEDICATION GUIDE
          and sign a statement (PATIENT AGREEMENT). You and your provider should discuss the
          benefits and risks of your using Mifeprex.



          Who should not take Mifeprex?
          Some women should not take Mifeprex. Do not take it if:
          • It has been more than 49 days (7 weeks) since your last menstrual period began.
          • You have an IUD. It must be taken out before you take Mifeprex.
          • Your provider has told you that you have a pregnancy outside the uterus (ectopic
            pregnancy).
          • You have problems with your adrenal glands (chronic adrenal failure).
          • You take a medicine to thin your blood.
          • You have a bleeding problem.
          • You take certain steroid medicines.
          • You cannot return for the next 2 visits.
          • You cannot easily get emergency medical help in the 2 weeks after you take Mifeprex.
          • You are allergic to mifepristone, misoprostol, or medicines that contain misoprostol, such as
            Cytotec or Arthrotec.

          Tell your provider about all your medical conditions to find out if you can take Mifeprex. Also,
          tell your provider if you smoke at least 10 cigarettes a day.

          How should I take Mifeprex?
          •   Day 1 at your provider’s office:
              - Read this MEDICATION GUIDE.
              - Discuss the benefits and risks of using Mifeprex to end your pregnancy.
              - If you decide Mifeprex is right for you, sign the PATIENT AGREEMENT.
              - After getting a physical exam, swallow 3 tablets of Mifeprex.
          •   Day 3 at your provider’s office:
              - If you are still pregnant, take 2 misoprostol tablets.
              - Misoprostol may cause cramps, nausea, diarrhea, and other symptoms. Your provider
                may send you home with medicines for these symptoms.
          •   About Day 14 at your provider’s office:
              - This follow-up visit is very important. You must return to the provider about 14 days after
                 you have taken Mifeprex to be sure you are well and that you are not pregnant.
              - Your provider will check whether your pregnancy has completely ended. If it has not
                 ended, there is a chance that there may be birth defects. If you are still pregnant, your
                 provider will talk with you about the other choices you have, including a surgical
                 procedure to end your pregnancy.




                                                                                              App. 000470
Reference ID: 2957855
          Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 9 of 105 PageID 9972




          What should I avoid while taking Mifeprex and misoprostol?
          Do not take any other prescription or non-prescription medicines (including herbal medicines or
          supplements) at any time during the treatment period without first asking your provider about
          them because they may interfere with the treatment. Ask your provider about what medicines
          you can take for pain.

          If you are breastfeeding at the time you take Mifeprex and misoprostol, discuss with your
          provider if you should stop breastfeeding for a few days.

          What are the possible and reasonably likely side effects of Mifeprex?

          Cramping and bleeding are expected with this treatment. Usually, these symptoms mean that
          the treatment is working. But sometimes you can get cramping and bleeding and still be
          pregnant. This is why you must return to your provider on Day 3 and about Day 14. See “How
          should I take Mifeprex?” for more information on when to return to your provider. If you are not
          already bleeding after taking Mifeprex, you probably will begin to bleed once you take
          misoprostol, the medicine you take on Day 3. Bleeding or spotting can be expected for an
          average of 9–16 days and may last for up to 30 days. Your bleeding may be similar to, or
          greater than, a normal heavy period. You may see blood clots and tissue. This is an expected
          part of ending the pregnancy.

          Other common symptoms of treatment include diarrhea, nausea, vomiting, headache, dizziness,
          back pain, and tiredness. These side effects lessen after Day 3 and are usually gone by Day
          14. Your provider will tell you how to manage any pain or other side effects.

          Call your doctor for medical advice about side effects. You may report side effects to FDA at 1­
          800-FDA-1088.

          When should I begin birth control?
          You can become pregnant again right after your pregnancy ends. If you do not want to become
          pregnant again, start using birth control as soon as your pregnancy ends or before you start
          having sexual intercourse again.



                                                      *   *   *


          Medicines are sometimes prescribed for purposes other than those listed in a MEDICATION
          GUIDE. For more information, ask your provider for the information about Mifeprex that is
          written for health care professionals. Ask your provider if you have any questions.

          This MEDICATION GUIDE has been approved by the U.S. Food and Drug Administration.

          Rev 3: 4/22/09
          *Mifeprex is a registered trademark of Danco Laboratories, LLC.




                                                                                             App. 000471
Reference ID: 2957855
           Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                               Page 10 of 105 PageID 9973
                                                                      M I F E P R E X®
                                                               (Mifepristone) Tablets, 200 mg

                                                              PRESCRIBER’S AGREEMENT

      We are pleased that you wish to become a provider of Mifeprex* (Mifepristone) Tablets, 200 mg, which is
      indicated for the medical termination of intrauterine pregnancy through 49 days from the first day of the patient’s
      last menstrual period (see full prescribing information). Prescribing Information, Mifeprex Medication Guides and
      PATIENT AGREEMENT forms will be provided together with your order of Mifeprex.

      Prior to establishing your account and receiving your first order, you must sign and return this letter to the
      distributor, indicating that you have met the qualifications outlined below and will observe the guidelines outlined
      below. If you oversee more than one office facility, you will need to list each facility on your order form prior to
      shipping the first order.

      By signing the reverse side, you acknowledge receipt of the PRESCRIBER’S AGREEMENT and agree that you
      meet these qualifications and that you will follow these guidelines for use. You also understand that if you do not
      follow these guidelines, the distributor may discontinue distribution of the drug to you.

      Under Federal law, Mifeprex must be provided by or under the supervision of a physician who meets the
      following qualifications:

                  • Ability to assess the duration of pregnancy accurately.

                  • Ability to diagnose ectopic pregnancies.

                  • Ability to provide surgical intervention in cases of incomplete abortion or severe bleeding, or have
                  made plans to provide such care through others, and are able to assure patient access to medical
                  facilities equipped to provide blood transfusions and resuscitation, if necessary.

                  • Has read and understood the prescribing information of Mifeprex. The prescribing information is
                  attached to this letter, and is also available by calling our toll free number, 1-877-4 Early Option (1-877­
                  432-7596), or logging on to our website, www.earlyoptionpill.com.

      In addition to these qualifications, you must provide Mifeprex in a manner consistent with the following guidelines.

                  • Under Federal law, each patient must be provided with a Medication Guide. You must fully explain the
                  procedure to each patient, provide her with a copy of the Medication Guide and PATIENT
                  AGREEMENT, give her an opportunity to read and discuss them, obtain her signature on the PATIENT
                  AGREEMENT, and sign it yourself.

                  • The patient’s follow-up visit at approximately 14 days is very important to confirm that a complete
                  termination of pregnancy has occurred and that there have been no complications. You must notify
                  Danco Laboratories in writing as discussed in the Package Insert under the heading DOSAGE AND
                  ADMINISTRATION in the event of an on-going pregnancy which is not terminated subsequent to the
                  conclusion of the treatment procedure.

                  • While serious adverse events associated with the use of Mifeprex are rare, you must report any
                  hospitalization, transfusion or other serious event to Danco Laboratories, identifying the patient solely by
                  package serial number to ensure patient confidentiality.

                  • Each package of Mifeprex has a serial number. As part of maintaining complete records for each
                  patient, you must record this identification number in each patient’s record.


      Danco Laboratories, LLC
      P.O. Box 4816
      New York, NY 10185
      1-877-4 Early Option (1-877-432-7596)
      www.earlyoptionpill.com
      *MIFEPREX is a registered trademark of Danco Laboratories, LLC.
                                                                                                          App. 000472
Reference ID: 2957855
              Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                                             Page 11 of 105 PageID 9974

                                         ACCOUNT SETUP FORM
                                         MIFEPREX (Mifepristone) Tablets, 200 mg; NDC 64875-001-03
                                                         TM




                                         Billing information

       To set up your                    Bill to Name ________________________________________________________________

          account:                       Address ____________________________________________________________________
                                         City ________________________________                          State ________ ZIP ___________________
                                         Phone ______________________________                           Fax ________________________________
                  1
                                         Attention ___________________________
Read the Prescriber’s Agreement on
the back of this Account Setup Form.     Shipping information (❑ Check if same as above)
                                         Ship to Name _______________________________________________________________
                  2                      Address ____________________________________________________________________

   Complete and sign this form.          City ________________________________                          State ________ ZIP ___________________
                                         Phone ______________________________                           Fax ________________________________
                                         Attention ___________________________
                  3
 Fax the completed Account Setup         Additional site locations
  Form to the Danco distributor at       I will also be prescribing Mifeprex* at these additional locations:
  1-866-227-3343. Your account
                                          Name _________________________________                         Address __________________________________
  information will be kept strictly
            confidential.                 City __________________________________                        State ________ ZIP _________________________
                                          Phone ________________________________                         Fax ______________________________________

                  4
                                          Name _________________________________                         Address __________________________________
 The distributor will call to finalize
                                          City __________________________________                        State ________ ZIP _________________________
 your account setup and take your
            initial order.                Phone ________________________________                         Fax ______________________________________
                                         (Any additional sites may be listed on an attached sheet of paper.)


                  5                      Request additional materials
 Subsequent orders may be phoned         ❑ Medication Guides                                    ❑ Patient Agreements
 in and are usually shipped within       ❑ State Abortion Guidelines                            ❑ Patient Brochures
              24 hours.
                                         Establishing your account (required only with first order)
                                         Each facility purchasing Mifeprex must be included on this form (see additional site locations box above) before the
                  6                      distributor can ship the product. Please read the Prescriber’s Agreement on the reverse of this form and sign below.
Unopened, unused product may be
                                         By signing below, you acknowledge receipt of the Prescriber’s Agreement and agree that
returned for a refund or exchange up
                                         you meet these qualifications and that you will follow these guidelines for use.
 to a year after the expiration date.
                                         Print Name _________________________________                         Signature _________________________________
                                         Medical License # ___________________________                        Date ______________________________________

                                         Fax this completed Account Setup Form to the authorized distributor. Fax: 1-866-227-3343
                                         Please fax any questions to the above number or call 1-800-848-6142.
                                         *Mifeprex is a trademark of Danco Laboratories, LLC.




                                                                                                                                  App. 000473
 Reference ID: 2957855
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         Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                      Page 12 of 105 PageID 9975

          Mifeprex® (Mifepristone) Tablets, 200 mg

          PATIENT AGREEMENT
          Mifeprex* (mifepristone) Tablets
          1. I have read the attached MEDICATION GUIDE for using Mifeprex and misoprostol to end my pregnancy.
          2. I discussed the information with my health care provider (provider).
          3. My provider answered all my questions and told me about the risks and benefits of using Mifeprex and
          misoprostol to end my pregnancy.
          4. I believe I am no more than 49 days (7 weeks) pregnant.
          5. I understand that I will take Mifeprex in my provider’s office (Day 1).
          6. I understand that I will take misoprostol in my provider’s office two days after I take Mifeprex (Day 3).
          7. My provider gave me advice on what to do if I develop heavy bleeding or need emergency care due to the
          treatment.
          8. Bleeding and cramping do not mean that my pregnancy has ended. Therefore, I must return to my
          provider’s office in about 2 weeks (about Day 14) after I take Mifeprex to be sure that my pregnancy has
          ended and that I am well.
          9. I know that, in some cases, the treatment will not work. This happens in about 5 to 8 women out of 100
          who use this treatment.
          10. I understand that if my pregnancy continues after any part of the treatment, there is a chance that there
          may be birth defects. If my pregnancy continues after treatment with Mifeprex and misoprostol, I will talk with
          my provider about my choices, which may include a surgical procedure to end my pregnancy.
          11. I understand that if the medicines I take do not end my pregnancy and I decide to have a surgical
          procedure to end my pregnancy, or if I need a surgical procedure to stop bleeding, my provider will do the
          procedure or refer me to another provider who will. I have that provider’s name, address and phone number.
          12. I have my provider's name, address and phone number and know that I can call if I have any questions or
          concerns.
          13. I have decided to take Mifeprex and misoprostol to end my pregnancy and will follow my provider’s advice
          about when to take each drug and what to do in an emergency.
          14. I will do the following:
               - contact my provider right away if in the days after treatment I have a fever of 100.4°F or higher that
                   lasts for more than 4 hours or severe abdominal pain.
               - contact my provider right away if I have heavy bleeding (soaking through two thick full-size sanitary
                   pads per hour for two consecutive hours).
               - contact my provider right away if I have abdominal pain or discomfort, or I am “feeling sick”, including
                   weakness, nausea, vomiting or diarrhea, more than 24 hours after taking misoprostol.
               - take the MEDICATION GUIDE with me when I visit an emergency room or a provider who did not give
                   me Mifeprex, so that they will understand that I am having a medical abortion with Mifeprex.
               - return to my provider’s office in 2 days (Day 3) to check if my pregnancy has ended. My provider will
                    give me misoprostol if I am still pregnant.
               - return to my provider’s office about 14 days after beginning treatment to be sure that my pregnancy
                    has ended and that I am well.


          Patient Signature: ___________________________________________

          Patient Name (print): ________________________________________

          Date: _____________________________________________________

          The patient signed the PATIENT AGREEMENT in my presence after I counseled her and answered all her
          questions. I have given her the MEDICATION GUIDE for mifepristone.

          Provider’s Signature: ________________________________________

          Name of Provider (print): ______________________________________




                                                                                                     App. 000474
Reference ID: 2957855
         Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                   Page 13 of 105 PageID 9976

          Date: _____________________________________________________

          After the patient and the provider sign this PATIENT AGREEMENT, give 1 copy to the patient before she
          leaves the office and put 1 copy in her medical record. Give a copy of the MEDICATION GUIDE to the
          patient.



          Rev 2: 7/19/05
          *Mifeprex is a registered trademark of Danco Laboratories, LLC.




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                                                                                                 App. 000475
Reference ID: 2957855
          Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24             Page 14 of 105 PageID 9977
     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
     ---------------------------------------------------------------------------------------------------------
     /s/
     ----------------------------------------------------
                            (b) (6)


     06/08/2011




                                                                                          App. 000476
Reference ID: 2957855
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 15 of 105 PageID 9978




                               EXHIBIT 22

 FDA Letter to AAPLOG Denying 2002 Citizens Petition
                  (March 29, 2016)




                                                                   App. 000477
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                       Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                        Page 16 of 105 PageID 9979
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        'E. DEPARTMENT OF HEALTH HUMAN SERVICES            &

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                                                                                                             Food and Drug Administration
                              MAR Z9 Z016                                                                    10903 New Hampshire Avenue
                                                                                                             Building #51
                                                                                                             Silver Spring, MD 20993

                         Donna Harrison, M.D.
                         Executive Director
                         American Association of Pro Life Obstetricians and Gynecologists
                         P.O. Box 395
                         Eau Claire, MI 49111

                         Gene Rudd, M.D.
                         Senior Vice President
                         Christian Medical and Dental Associations
                         P.O. Box 7500
                         Bristol, TN 37621

                         Penny Young Nance
                         CEO and President
                         Concerned Women for America
                         1015 Fifteenth St., NW
                         Suite 1100
                         Washington, DC 20005

                                         Re: Docket No. FDA-2002-P-0364

                         Dear Drs. Harrison and Rudd and Ms. Nance:

                         This letter responds to your citizen petition submitted on August 20, 2002, to the Food and Drug
                         Administration (FDA or Agency) on behalf of the American Association of Pro Life Obstetricians
                         and Gynecologists (AAPLOG), the Christian Medical Association (CMA) (n/k/a the Christian
                         Medical and Dental Associations), and Concerned Women for America (CWA) (Petition). 1 Your
                         Petition requests that the Agency stay FDA's approval ofMifeprex (mifepristone, also known as
                         RU-486), thereby halting the distribution and marketing of the drug pending final action on the
                         Petition. The Petition also requests that the Agency revoke FDA's approval ofMifeprex and
                         requests a full audit of the French and U.S. clinical trials submitted in support of the new drug
                         application (NDA) for Mifeprex.

                         We have carefully considered the information submitted in your Petition, comments on your
                         Petition submitted to the docket, other submissions to the docket, and other relevant data available
                         to the Agency. Based on our review of these materials and for the reasons described below, your
                         Petition is denied.

                         1
                          The citizen petition was originally assigned docket number 2002P-0377/CP I. The number was changed to
                         FDA-2002-P-0364 as a result of FDA's transition to its new docketing system (Regulations.gov) in January
                         2008. This citizen petition was submitted by AAPLOG, CMA, and Sandy Rios, the then-President of CW A.
                         We have addressed this response to CW A's current CEO and President, Penny Young Nance.




                                                                                                                      App. 000478
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                            Page 17 of 105 PageID 9980
  Docket No. FDA-2002-P-0364



  I.       BACKGROUND

  On September 28, 2000, FDA approved Mifeprex for the medical termination of intrauterine
  pregnancy through 49 days' pregnancy (NDA 20-687). The application was approved under 21
  CFR part 314, subpart H, "Accelerated Approval of New Drugs for Serious or Life-Threatening
  Illnesses" (subpart H). This subpart applies to certain new drug products that have been studied for
  their safety and effectiveness in treating serious or life-threatening illnesses and that provide
  meaningful therapeutic benefit to patients over existing treatments. Specifically,§ 314.520 of
  subpart H provides for approval with restrictions that are needed to assure the safe use of the drug
  product. In accordance with § 314.520, FDA restricted the distribution ofMifeprex as specified in
  the approval letter, including a requirement that Mifeprex be provided by or under the supervision
  of a physician who meets eight qualifications specified in the letter.

                                                                                                2
  The September 28, 2000, approval Jetter also listed two Phase 4 commitments that the then-
  applicant of the Mifeprex NDA (i.e., the Population Council) 3 agreed to meet. In addition, the
  letter stated that FDA was waiving the pediatric study requirement in 21 CFR 314.55.

  II.      DISCUSSION OF ISSUES RAISED

  You maintain that good cause exists for granting an immediate stay of the Mifeprex approval and
  for the subsequent revocation of that approval under 21 CFR 314.530 (Petition at 3). You contend
  that:

           •   The approval ofMifeprex in 2000 violated the Administrative Procedure Act' s (APA's)
               prohibition against agency action that is arbitrary, capricious, an abuse of discretion, or
               otherwise not in accordance with Jaw (5 U.S.C. 706(2)(A));

           •   The 2000 approval violated section 505 of the Federal Food , Drug, and Cosmetic Act
               (the FD&C Act) (21 U .S.C. 355) because Mifeprex does not satisfy the safety and
               labeling requirements of that section; and

           •   FDA approved Mifeprex in 2000 despite the presence of substantial ri sks to women's
               health, including fatal hemon·hage and serious bacterial infections.


  You make eight arguments for the stay and revocation of the 2000 Mifeprex approval , as follows
  (Petition at 4-7):




  2
    For purposes of this petition response, the tenn 'Phase 4 commitments' refers to the postmarketing studie
  that the Mifeprex sponsor agreed to perfonu as a condition of approval.
  3
   Effective October 3 1, 2002, the Population Council transferred ownership of the Mifeprex NDA to Danco
  Laboratories, LLC (Danco), which had been licensed to manufac ture and market Mifeprex.



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                                                                                                    App. 000479
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 18 of 105 PageID 9981
  Docket No. FDA-2002-P-0364


       •   That the approval of Mifeprex in 2000 violated the legal requirements of the accelerated
           approval regulations under 21 CFR Subpart H.

       •   That Mifeprex was not proven safe and effective in 2000 as required by law.

       •   That the Mifeprex regimen requires that Mifeprex be used in conjunction with another
           drug, misoprostol, which has not been separately approved as an abortifacient.

       •   That the Mifeprex regimen was approved in 2000 without adequate safety restrictions.

       •   That the drug' s sponsor, following the approval in 2000, neglected to require Mifeprex
           providers to adhere to the restrictions contained in the regimen approved at that time.

       •   That the safeguards employed in one of the clinical trials that supported the 2000 approval
           were not mirrored in the regimen that FDA approved.

       •   That FDA improperly waived a requirement for pediatric studies in c01mection with the
           2000 Mifeprex approval.

       •   That FDA did not require the sponsor ofMifeprex to honor its commitments for Phase 4
           studies.

  We respond to each of these arguments below.

  We note your petition challenges the ori ginal approval ofMifeprex in 2000, and therefore this
  response is addressed to the 2000 approval and to the labeling that was approved at that time.
  Today, the Agency is approving a supplemental NDA submitted by Danco Laboratories, LLC
  (Danco), the holder of the Mifeprex NDA. This supplemental NDA proposed modified labeling
  for Mifeprex, including an updated dosing regimen, and included data to support the new labeling.
  After reviewing Dance ' s supplemental NDA, FDA determined that it met the statutory standard for
  approval. The fact that the previously approved regimen is no longer included in the labeling does
  not reflect a decision that there were safety or effectiveness concerns with the previously approved
  regimen.


  A.       Approval of Mifeprex \Vas Consistent \\1ith Subpart H

  You maintain that FDA' s 2000 approval of Mifeprex under the subpart H regulations was
  arbitrary, caprici ous, an abuse of di scretion, or otherwi se not in accordance with law, and thus
  violated the APA (Petition at 18-23). You state th at pregnancy, without major complications, is
  not a serious or life-threatening illness; instead, you cl aim it is a nonnal physiological state
  experienced by most females one or more times and is rarely accompanied by li fe-threatening
  complications (Petition at 19). You contend that Mifeprex does not provide meaningful
  therapeutic benefit to pati ents over existing treatm ents because surgical abortion is a less
  dangerous, more effective alternative for the tennination of pregnancy, and that M ifeprex does not
  treat any subset of the female population that is unresponsive to or intolerant of surgical abortion


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                                                                                     App. 000480
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                              Page 19 of 105 PageID 9982
  Docket No. FDA-2002-P-0364


  (Petition at 21 -23). Thus, you assert that the approval of Mifeprex did not meet the requirements
  for product approval under subpart H (Petition at 23).

  We disagree with your conclusion that we inappropriately approved Mifeprex under subpart H. As
  stated in section I above, the accelerated approval regulations apply to new drug products that have
  been studied for their safety and effectiveness in treating serious or life-threatening illnesses and
  that provide meaningful therapeutic benefit to patients over existing treatments(§ 314.500). As
  FDA made clear in the preamble to the final rule for subpart H, the subpart H regulations are
  intended to apply to serious or life-threatening conditions, as well as to illnesses or diseases .4 The
  Agency also made clear that a condition need not be serious or life-threatening in all populations or
  in all phases to fall within the scope of these regulations. 5 Unwanted pregnancy falls within the
  scope of subpart H under § 314.500 because unwanted pregnancy, like a number of illnesses or
  conditions, can be serious for certain populations or under certain circumstances.

   Pregnancy can be a serious medical condition in some women. 6 Pregnancy is the only condition
   associated with preeclampsia and eclampsia and causes an increased risk of thromboembolic
   complications, including deep vein thrombophlebitis and pulmonary embolus. Additionally, there
   is a significant risk of a major surgical procedure and anesthesia if a pregnancy is continued; for
   2013 (the most recent data available), the Centers for Disease Control and Prevention reported an
   overall 32.7 percent rate of cesarean sections in the United States. 7 Other medical concerns
 . associated with pregnancy include the following: disseminated intravascular coagulopathy (a rare
   but serious complication); amniotic fluid embolism; life-threatening hemorrhage associated with
   placenta previa, placenta accreta, placental abruption, labor and delivery, or surgical delivery;
   postpartum depression; and exacerbation or more difficult management of preexisting medical
   conditions (e.g., diabetes, lupus, cardiac disease, hypertension). In addition, approximately 50
   percent of all pregnancies in the United States each year are unintended. 8 According to the

  4
      See, e.g., 57 FR 58942, 58946 (Dec. 11 , 1992).
  5
      Id .
  6
    According to data from the Centers for Disease Control and Prevention (CDC), for 20 12 (the most recent
  year for which data are available), the pregnancy-related mortality ratio in the United States was 15.9
  maternal pregnancy-related deaths per I 00,000 live births. See CD C, Pregnancy Mortality Surveillance
  System, available on the CDC Web page at
  http://www.cdc.gov/reproductivehea lthlmatemalinfanthealth/pmss. html. A 2012 study by Raymond and
  Grimes provides a comparison for the mortality rate associated with legal abortion to Jive birth in the United
  States for the earlier period from J 998 through 2005. Investigators reported that over the study period, the
  pregnancy related mortality rate among women who delivered live neonates was 8.8 deaths per I 00,000 live
  births. This lower rate excludes deaths from ectopic pregnancies, stil lbirths, gestational trophoblastic disease,
  etc. During the same period, the rate of abortion related morta lity was 0.6 per I 00,000 abortions. The risk of
  childbirth related death was therefore approximately 14 times higher than the rate associated with legal
  abortion. Raymond, EG and DA Grimes, Feb. 20 12, The Comparative Safety of Legal Induced Abortion and
  Childbirth in the United States, Obstet Gynecol, 119 (2, Part I ):2 15-219.
  7
   See CDC, Nov. 5, 20 14, Trends in Low-risk Cesarean Delivery in the United States, 1990-20 13, National
  Vital Statistics Report, 63(6), available at http: 'NWw.cdc.go\ nchs data m sr m sr63 m sr63 06.pdf .
  8
   Guttmacher Institute, Feb. 20 I 5, Unintended Pregnancy in the United States, at 1, available at
  http:. www.guttmacher.org. pubs FB-Unintended-Pregnancy-US.pdf. See also Institute of Medicine, 20 1 I ,


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                                                                                                       App. 000481
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                              Page 20 of 105 PageID 9983
  Docket No. FDA-2002-P-0364


  Institute of Medicine, women experiencing an unintended pregnancy may experience depression,
  anxiety, or other conditions. 9

  Furthermore, consistent with § 314.500, medical abortion through the use ofMifeprex provides a
                                                                            10
  meaningful therapeutic benefit to some patients over surgical abortion. Although FDA provided
  several examples in the preamble to the final rule to illustrate how the term "meaningful
  therapeutic benefit" might be interpreted, the Agency did not suggest that the meaning of the term
                                          11
  was limited to the examples provided. In the Phase 3 clinical trial ofMifeprex conducted in the
  United States, medical termination of pregnancy avoided an invasive surgical procedure and
  anesthesia in 92 percent of the 827 women with an estimated gestational age (EGA) of 49 days or
  less. 12 Complications of general or local anesthesia, or of intravenous sedation ("twilight"
  anesthesia), can include a severe allergic reaction, a sudden drop in blood pressure with
  cardiorespiratory arrest, death, and a longer recovery time following the procedure. Medical (non-
  surgical) termination of pregnancy provides an alternative to surgical abortion; it is up to the
  patient and her provider to decide whether a medical or surgical abortion is preferable and safer in
  her particular situation. 13



  Clinical Preventive Services for Women: Closing the Gaps (Closing the Gaps), at 102-110, available at
  http:. books.nap.edu openbook.php?record id 13181 (stating that "[u]nintended pregnancy is highly
  prevalent in the United States").

  9
      See Closing the Gaps, supra note 8, at 103.

   °
  1 For a discussion of how FDA interprets the phrase " meaningful therapeutic benefit to patients over existing
  treatments" in 21 CFR 314.500, see FDA guidance for industry, Expedited Programs for Serious
  Conditions- Drugs and Biologics, at 3-4, 16- 17, available on the FDA Drugs guidance Web page at
  http://www.fda.govDrugs GuidanceComplianceRegulatory1nfomlation/Guidances/default.htm.
  11 57 FR 58942, 58947 (Dec. II , 1992).

  12
     FDA, 1999, Medical Officer' s Review of Amendments 024 and 033: Final Reports for the U.S. Clinical
  Trials Inducing Abortion Up to 63 Day Gestational Age and Complete Responses Regarding Distribution
  System and Phase 4 Commitments (Med ical Officer' s Review), at II (Table I) and 16, available at
  http: www.accessdata.fda.go• drugsatfda docs nda '>000 '20687 Mifepristone medr Pl.pdf and
  http:. www.accessdata.fda.gov drugsatfda docs nda '2000 '20687 Mifepristone medr P2.pdf. Spitz, IM, et
  al., 1998, Early Pregnancy Tennination With Mifepristone and Misoprostol in the US, NEJM, 338: 124 1-
  1243.
  13
    CDC data indicate that for the 730,322 abortions reported in 20 II , there were 2 deaths. The CDC's
  calculated case fatality rate over the period from 2008 to 20 11 (the most recent year for which data are
  avai lable), the case fatality rate was 0.73 legal induced abortion-related deaths per 100,000 reported legal
  abortions. http://www.cdc.gov/mmwr/preview/mmwrhtml/ss641 Oa l.htm?s cid ss641 Oa 1 e. Mortality rates
  identified by type of abortion (medical or surg ical) were not avai lable. However, the evidence suggests that
  the risk of mortality associated with medical abortion is quite low. Confirmation o f the low risk of medical
  abortion is provided in a study by Trussell, et al., which recorded no deaths for 7 11 ,556 medical abortions
  performed by Pla1med Parenthood clinics under the buccal misoprostol administration protocol (Trussell J, D
  Nucatola, et al., Mar. 20 14, Reduction in Infection-Related Mortality Since Modifications in the Regimen of
  Medical Abortion, Contraception, 89(3): 193-6). W e note that one study reported a comparatively high
  occurance of fatality (1 death in a study of II , 155 early medical abortions); however, this apparent high
  occurence of fatality is likely due to instability in the estimate as a result of the small sample size (Goldstone
  P, J Michelson, et al., Sept. 3, 20 12, Early Medical Abortion Using Low-Dose Mifepristone Followed by


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                                                                                                       App. 000482
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                             Page 21 of 105 PageID 9984
  Docket No. FDA-2002-P-0364



  You cite a study by Jensen, et al., as support for your claim that surgical abortion is less dangerous
  and more effective than Mifeprex (Petition at 21-22 (citing Jensen, JT, et al., 1999, Outcomes of
  Suction Curettage and Mifepristone Abortion in the United States: A Prospective Comparison
  Study, Contraception, 59:153-159 (Jensen study)). This study was a prospective, nonconcurrent
  cohort analysis comparing the patients from one site in the U.S. phase 3 trial and a separate group
  of patients (who were not part of the U.S. phase 3 trial) who underwent surgical abortion at the
  same facility. The populations that were compared were not randomized to treatment (i.e., medical
  or surgical abortion) and the treatment periods did not overlap. 14 In addition, the data on medical
  abortion cited in the Jensen study are based on the 178 subjects at a single site in the phase 3 U.S.
  Mifeprex trial that enrolled 2,121 women. This small subset ofthe U.S. trial included patients with
  pregnancies of up to 63 days' gestation. Although you cite a surgical intervention rate of 18.3
  percent in the Mifeprex patients, the surgical intervention rate for Mifeprex patients with an EGA :::;
  49 days was 12.7 percent (9 of 71 ), which, because of the small number of patients in the two
  groups, is not statistically significantly different from the 3.9 percent rate for re-intervention in the
                                           15
  comparative surgical group (3 of77). Furthermore, the 3.9 percent who first had a surgical
  abortion and then required surgical re-intervention ultimately required two surgical interventions,
  not one, thereby exposing them twice to the risks inherent in invasive surgical procedures and
  anesthesia. Finally, although you state that the medical abortion patients in the Jensen study
  reported significantly longer bleeding than did surgical patients, there was not a greater amount of
  bleeding in the medical abortion group, nor was there a significant difference between the two
  treatment groups in the incidence of anemia as determined by the overall change in hemoglobin
  concentrations.

  You state that FDA "viewed [s]ubpart Has the only available regulatory vehicle that had the
  potential to make Mifeprex safe" (Petition at 23 (footnote omitted)). The question of whether
  subpart H was "the only available regulatory vehicle" is not relevant here. As described above,
  Mifeprex met the criteria for approval under subpart H. Additionally, as stated in the September
  28, 2000, memorandum to NDA 20-687 (Mifeprex Approval Memorandum), "the Population
  Council proposed and FDA agreed that this drug will be directly distributed via an approved plan
  that ensures the physical security of the drug to physicians who meet specific qualifications" that
                                                                      16
  were set out in the approval letter and the Prescriber's Agreement.



  Buccal Misoprostol: A Large Australian Observational Study, Med J Aust, 197(5):282-6). Much more
  accurate and meaningful data are provided by Trussell's study covering >700,000 medical abortions.
  14
    We are not suggesting that in order to be adequate and well-controlled a trial must be concurrentl y
  controlled. As discussed below in section Il .B. l , FDA's regulations in § 3 14.126 recognize a number of
  different types of controls.

  15
    In addition, the mean surgical intervention rate for all Mifeprex patients with gestational ages s 49 days in
  the Phase 3 U.S. trial was 7.9 percent (65 of 827 evaluable patients).
  16
     FDA, Sept. 28 , 2000, Memorandum to NDA 20-687 MIFEPREX (mifepristone) Population Council
  (Mifeprex Approval Memorandum), available at
  http:. www.fda.gm download:- Drugs DrugSafety PostmarketDrugSafetylnfonnationforPatientsandProviders
  ucml 11366.pdf


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                                                                                                      App. 000483
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                           Page 22 of 105 PageID 9985
  Docket No. FDA-2002-P-0364


  Furthermore, we approved a risk evaluation and mitigation strategy (REMS) for Mifeprex in June
  2011 , consisting of a Medication Guide, elements to assure safe use, an implementation system,
  and a timetable for submission of assessments of the REMS. Mifeprex was identified as one of the
  products that was deemed to have in effect an approved REMS under the Food and Drug
  Administration Amendments Act of 2007 (FDAAA) because on the effective date of Title IX,
  subtitle A ofFDAAA (March 28, 2008), Mifeprex had in effect elements to assure safe use. 17
  The2011 REMS for Mifeprex incorporated the restrictions under which the drug was approved.
  Indeed, there is substantial overlap between the requirements of subpart H and the statutory criteria
  for REMS set out in Title IX.

  Given all of the above, the Mifeprex NDA was appropriately approved in 2000.

  B.         The French and U.S. Clinical Trials of Mifeprex Provided Substantial Evidence to
             Support Approval

  You contend that the studies on which the Population Council relied in support of its NDA for
  Mifeprex do not meet the statutory and regulatory requirements for the quality and quantity of
  scientific evidence needed to support a finding that a new drug is safe and effective (Petition at 24).

  Our review of Mifeprex was thorough and consistent with the FD&C Act and FDA regulations,
  including the requirements under section 50S(d) of the FD&C Act that: (1) there be adequate tests
  to show that the drug is safe for use under the conditions prescribed, recommended, or suggested in
  the proposed labeling (section 505(d)(l)) and (2) there be substantial evidence that the drug will
  have the effect it purports or is recommended to have under the conditions of use prescribed,
  recommended, or suggested in the labeling (section 505(d)(5)). The Mifeprex NDA was
  thoroughly reviewed, and the drug product was found to be safe and effective for its approved
  indication. In addition, as noted in the Mifeprex Approval Memorandum (at 1), FDA' s
  Reproductive Health Drugs Advisory Committee (Advisory Committee) voted 6 to 0 (with 2
  abstentions) on July 19, 1996, that the benefits of Mifeprex exceeded the risks. As set forth below,
  we disagree with your cl aims concerning the clinical trials that fonn the basis for the approval of
  Mifeprex.

              1.      The Clinical Trials Used to Support the Mifeprex NDA Were in Accordance With
                      the FD&C Act and Applicable Regulations

  You argue that because neither the French clinical trials nor the U.S. clinical trial of mifepristone
  were blinded, randomized, or concurrently controlled, these trials were inadequate to establi sh the
  safety and effectiveness ofMifeprex (Petition at 24-25 and 32-34). In addition, you assert in the
  response you submitted on October 10, 2003, to the comments in opposition to the Petition
  submitted by the Population Council and Danco (Response to Oppositi01V that the clinical trials of
  Mifeprex were not historically controlled but instead were uncontrolled. 1 You state that the

  17
       73 FR I 63 13 (Mar. 27, 2008).
  18
    Response to Opposition at 5. You also state that because the Mifeprex regimen was the first drug regime n
  that FDA approved to induce abortions, the applicant should have compared the new drug regimen to surgical
  abortions perfom1ed during the fi rst 49 days after a woman's last menstrual period (Response to Opposition at


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                                                                                                   App. 000484
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                              Page 23 of 105 PageID 9986
  Docket No. FDA-2002-P-0364


  applicant did not describe any historical control group in the French clinical trials, and did not
  indicate that any of the scientific guidelines for selecting a proper control group before begitming a
  historically controlled study were used for these trials (id. at 5-6). You also reject the applicant's
  claim that the available information on surgical abortion constitutes historically controlled data (id.
  at 6).

  We disagree with your conclusion that the French and U.S. clinical trials ofmifepristone were not
  clinically and legally adequate to support the approval ofMifeprex. The data from these three
  clinical trials (a large U.S. trial and two French trials) constitute substantial evidence that Mifeprex
  is safe and effective for its approved indication in accordance with section 505(d) of the FD&C
  Act. The labeling approved in 2000 for Mifeprex was based on data from these three clinical trials
  and from safety data from a postrnarketing database of over 620,000 women in Europe who had
  had a medical termination of pregnancy (approximately 415,000 of whom had received
                                              19
  mifepristone together with misoprostol).

  The U.S. trial ofMifeprex involved 2,121 subjects enrolled at 17 sites. Ofthese, 827 had an EGA
  of :::; 49 days and were included in the efficacy evaluation. 20 Medical termination of pregnancy was
                                                                                               21
  complete (without the need for surgical intervention) in 762 of these subjects (92 percent). Sixty-
  five of the subjects in the U.S. trial who were evaluable for efficacy were classified as having had a
  "treatment failure." The reasons for treatment failure (and number of subjects experiencing each)
  were: incomplete pregnancy tennination (n = 39), still pregnant (n = 8), subject request for surgical
  intervention (n = 5), and medical indication (bleeding, n = 13 ). 22 The two French trials enrolled a
  total of 1,681 subjects providing effectiveness outcomes. Among the French subjects, the success
  rate for medical termination of pregnancy was 95.5 percent. 23

  In the U.S. trial , 859 subjects with an EGA of ::; 49 days were evaluated for safety. Among these
  subjects, there were no deaths, one transfusion, and nine instances in which subjects received
  intravenous fluids. 24 The safety profile of the patient group in the French trials with an EGA of:::;
  49 days did not differ significantly from the safety profile of the same patient group in the U.S.

  5, note 20). The fact that a drug might be the first one approved for a particular indication is not a factor in
  determining what type of control is adequate for a clinical trial of that drug for that indication. As discussed
  above, FDA' s regul ations provide for a variety of different types of controls (see 2 1 CFR 3 14. 126(b)), and do
  not require comparison of a proposed drug product to an active control group to establish the safety and
  effectiveness of the drug. Therefore, the clinical trials to support the approval ofMifeprex were not required
  to have a surgical comparator arm.
  19
    Mifeprex labeling, Sept. 28, 2000, PRECAUTIONS, Teratogenic Effects: Human Data, Pregnancy,
  available at http: WW\\ .accessdata. fda.gO\ drugsatfda docs label '"'000 206871bl.pdf.
  20
       Mifeprex Approval Memorandum, supra note 16, at I; Medical Offi cer's Review, supra note 12, at I 0.
  21
       Medi cal Officer's Review, supra note 12, at II (Tabl e I) and I 6.
  22
       Id. at II (Table I).
  23
       Mifeprex Approval Memorandum, supra note 16, at I .
  24
       Medical Officer' s Review, supra note 12, at 12- 13.




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                                                                                                       App. 000485
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                            Page 24 of 105 PageID 9987
  Docket No. FDA-2002-P-0364


  trial, and the percentage of patients in the French and U.S. trials requiring hospitalization and blood
  transfusion and experiencing heavy bleeding was comparable? 5 There were no deaths in the
  French trials?6

  Section 505(d) of the FD&C Act states, in part, that FDA must refuse to approve an application if
  the Agency finds that there is a lack of substantial evidence that the drug will have the effect it
  purports or is represented to have under the conditions of use prescribed, recommended, or .
  suggested in the drug' s proposed labeling. Section 505(d) defines "substantial evidence" as
  "evidence consisting of adequate and well-controlled investigations, including clinical
  investigations, by experts qualified by scientific training and experience to evaluate the
  effectiveness ofthe drug involved."

  As stated in 21 CFR 314.126(a), the purpose of conducting clinical investigations of a drug is to
  distinguish the effect of the drug from other influences, such as a spontaneous change in the course
  of the disease or condition, placebo effects, or biased observation. Reports of adequate and well-
  controlled investigations serve as the main basis for determining whether there is substantial
  evidence to support the claims of effectiveness for a drug.

  We agree that randomization and the use of concurrent controls are two principal means of
  ensuring that clinical trial data are reliable and robust. However, that does not mean that in order
  to be adequate and well-controlled, a clinical trial must use a randomized concurrent control
  design. Section 314.126(b) lists the characteristics of an adequate and well-controlled study.
  Contrary to your assertion (Petition at 24), FDA regulations do not require that a study be blinded,
  randomized, and/or concurrently controlled. Among the characteristics of an adequate and well-
  controlled study is that it uses a design that permits a valid comparison with a control to provide a
  quantitative assessment of drug effect(§ 314.126(b)(2)). A historical control is one of the
  recognized types of control (§ 314.126(b)(2)(v)), and one in which the results of treatment with the
  test drug are compared with experience historically derived from the adequately documented
  natural history of the disease or condition, or from the results of acti ve treatment in comparable
  patients or populations (id.). Unlike some other types of control (e. g., placebo concurrent control
  (§ 314.126(b)(2)(i)) or dose-comparison concurrent control (§ 314.1 26(b )(2)(ii))), use of a
  historical control does not include randomization or blinding. Because historical control
  populations usually cannot be as well assessed with respect to pertinent variables as can concurrent
  control populations, histori cal control designs are usually reserved for special circumstances,
  including studies in which the effect of the drug is self-evident. 27 Thus, in the proper setting,


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       Id. at 18.
  26
    FDA, May 2 I , 1996, Statisti cal Review and Evaluation (May 2 1, 1996, Statistical Review), at 4 and 7,
  available at http:. www.accessdata.fda.gov. drugsatfda docs/nda 2000;?0687 Mifepristone statr.pdf.
  27
     21 CFR 314.126(b)(2)(v). We note your contention that the effects of the regimen approved in 2000 are not
  self-ev ident because "[t]he Sponsor 's focus on this dyadic set of possibilities (failure (0) or success (l ))
  obscures a whole range of less easily measurable, but critically imp011ant, outcomes," including "tissue
  retention, life- threatening hemorrhaging, persistent bleeding, infection, teratogenicity, pain, continued
  fertility, and psychological effects" (Response to Oppositi on at 8). We disagree with your argument. From a
  clinical perspective, there are two outcomes associated with the use ofMifeprex for medical abortion: either
  there is a complete abortion (witho ut the need for surgical intervention) or there is not. The "outcomes·• yo u


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                                                                                                     App. 000486
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                              Page 25 of 105 PageID 9988
  Docket No. FDA-2002-P-0364


  historically controlled trials can be considered adequate and well-controlled, and there is no need
  for the other types of control listed in § 314.126(b)(2). 28

  The use of historical controls in the Mifeprex clinical trials was appropriate for two reasons. First,
  the natural history of a viable prewancy is adequately documented (a pregnancy continues on
  average for 40 weeks' gestation). 9 Second, the effect ofMifeprex is dramatic, occurs rapidly
  following treatment, and has a low probability of having occurred spontaneously. 3 Furthermore,       °
  contrary to your assertion (Petition at 32-34), the use of a historical control in these circumstances
  is consistent with ICH's guidance for industry, EJO Choice of Control Group and Related Issues in
  Clinical Trials (ElO Guidance).31 The ElO Guidance addresses external controls (including
  historical controls) that are used in externally controlled trials to compare a group of subjects
  receiving the test treatment with a group of patients external to the study, rather than with an
  internal control group consisting of patients from the same population assigned to a different
  treatment. 32 The guidance states that the "external control may be defined (a specific group of
  patients) or non-defined (a comparator group based on general medical knowledge of outcome)."33

  cite are complications that can be associated with all abortions (including surgical abortion, missed abortion
  (non-viable pregnancy that has not been expelled from the uterus), and spontaneous abortion).
  28
     You cite to a statement in the May 2 1, 1996, Statistical Review regarding the two French trials that " [i]n the
  absence of a concurrent control group in each of these studies, it is a matter of clinical judgement whether or
  not the sponsor's proposed therapeutic regimen is a viable alternative to uterine aspiration for the termination
  of pregnancy" (Petition at 27). FDA 's finding that Mifeprex was safe and effective for its labeled indication
  was b ased on data from three trials, one in the U.S. and two in France, as well as from safety data from a
  database of over 620,000 women in Europe who had had a medical termination of pregnancy (and
  approximately 41 5,000 of whom had received the combination of mifepristone and misoprostol). The
  Medical Officer's Review, supra note 12, also states that the " U.S. clinical trials confirm the safety and
  efficacy of mifepristone and misoprostol found in the pivotal French studies for women seeking medical
  abortions with gestations of 49 days duration or less" (ld. at 18-1 9) . As stated previously, it is up to the
  physician and his/her patient to decide whether a medical or surgical abortion is preferable and safer in the
  patient's particular situation.
  29
       MacDonald, PC, NF Gant, et al., 1996, Williams Obstetrics (201h ed.), Appleton and Lange, at 151.
  30
    Although sources and studies differ somewhat, the 92% success rate following mifepristone/misoprostol
  use far exceeds the rate of spontaneous abortion (spontaneous miscarriage). One source states: "N o less than
  30% and as much as 60% of all conceptions abort within the first 12 weeks of gestation, and at least half of all
  losses go unnoticed. Most recognized_pregnancy losses occur before 8 weeks' gestation, and relatively few
  occur after 12 weeks" (Fritz, M and L Speroff, 2011 , Clinical Gynecologic Endocrinology and Infertility (8 th
  ed.), Lippincott Wi lliams & Wilkins, Philade lphia, at 11 93). Other sources indicate that 15% of all
  pregnancies between 4-20 weeks of gestation spontaneously abort (See Speroff, L, e t al., 1989, Clinical
  Gynecologic Endocrinology and Infertility (4th ed.), W illiams and Wilkins, Baltimore, at 535 ; see also
  Stenchever, MA, 200 1, Comprehensive Gynecology (4th ed.), Mosby, at 414). According to the National
  Library of Medicine, " [a]mong women who know U1ey are pregnant, the miscarriage rate is about 15-20%.
  M ost miscarriages occur during the fi rst 7 weeks of pregnancy." (Miscarriage, available on the MedlinePius
  W eb site at http://www.nlm.nih.gov/medlineplus/ency/articlc. 00 1488.htm.
  31
      El O Guidance, available on the FDA Drugs Web p age at
  http: WW\\ .fda.go\ Drugs GuidanceComplianceRegulatorylnformation!Guidan ce~ default.htm, at 6.

  32 Id.


  33 ld.




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                                                                                                       App. 000487
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                              Page 26 of 105 PageID 9989
  Docket No. FDA-2002-P-0364


  Moreover, the El 0 Guidance clearly states that, notwithstanding certain limitations of external
  controls, including the possibility of bias, external controls can be appropriate under circumstances
  where the effect of the treatment is dramatic and the usual course of the disease or condition is
                      34
  highly predictable. In other words, historical controls can be appropriate in circumstances such
  as medical termination of early pregnancy. The use of the expected rate of spontaneous abortion
  during early pregnancy as the control in the Mifeprex clinical trials was appropriate and fully
  consistent with FDA regulations and guidance. The applicant could rely on the data from the three
  trials to support approval because they were adequate and well-controlled , using a historical
  control. 35

  It is not uncommon for the drug product review divisions in FDA's Center for Drug Evaluation and
  Research (CDER) to accept for filing and approve applications that rely on clinical trials
  employing historical controls to support approval for drug products in which the outcome of the
  condition is well known and the effect of the drug is anticipated to be markedly different from that
  of a placebo. Examples include FDA ' s approval of numerous oncology drug products, including,
  for example, Xalkori (crizotinib) for the treatment of patients with locally advanced or metastatic
  non-small cell lung cancer (NSCLC) that is anaplastic lymphoma kinase (ALK)-positive as
  detected by an FDA-approved test, and Adcetris (brentuximab vedotin) for the treatment of
  patients with Hodgkin lymphoma and a rare lymphoma known as systemic anaplastic large cell
  lymphoma. Other examples include iPlex (mecasermin rinfabate [rDNA origin] injection) for
  treatment of growth failure in children with severe primary IGF-1 deficiency (Primary IGFD) or
  with growth hormone (GH) gene deletion who have developed neutralizing antibodies to GH;
  Myozyme (alglucosidase ALFA) for use in patient~ with Pompe disease (GAA deficiency);
  Ferriprox (deferiprone) for the treatment of patients with transfusional iron overload due to
  thalassemia syndromes when current chelation therapy is inadequate; Voraxaze (glucarpidase) for
  treatment of toxic (> 1 micromole per liter) plasma methotrexate concentrations in patients with
  delayed methotrexate clearance due to impaired renal function; and Elelyso (taliglucerase alfa) for
  injection for use as a long-term enzyme replacement therapy in patients with Type 1 Gaucher
  disease. Similarly, it is not unusual for the CDER review divisions to accept for filing-applications
  relying on historically controlled clinical trials. Examples of reproductive drug products for which
  a historical control is often relied on in the drug approval process include contraceptive drug
  products (e. g., most birth control pills, Mirena intrauterine device, NuvaRing (an intravaginal
  hormonal contraceptive), and Implanon (an implanted honnonal contraceptive)) and menopausal
  hom1onal therapy products with the addition of a progestin to prevent endometrial cancer
  secondary to unopposed estrogen stimulation.


  34
       ld. at 27.
  35
     We disagree with your statement that the sponsor's fai lure to identify precisely a historical control group is
  fatal to its claim that the trials supporting the approval ofMifeprex were historicall y contro lled (Response to
  Opposition at 5-6). In situations where an investigational product is anticipated to have an effect that is
  readily discernible and greatly exceeds that which would be expected otherwise, the historical control may be
  relied upon without explicitly describing it as such. Examples of situations where this arises include, as here,
  the use of a drug for early medical abortion, given that the majority of pregnancies continue to term, and the
  use of a drug as a contraceptive, given that the pregnancy rate in sexually active women between 18 and 35
  years old in the absence of contraception for one year is well documented at approximately 85% ( Hatcher,
  RA, et al., 20 12, Contraception Teclmology (20th ed.), Ardent Media, Inc., at 780.



                                                          11
                                                                                                       App. 000488
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                             Page 27 of 105 PageID 9990
  Docket No. FDA-2002-P-0364



  You state that FDA did not conduct a statistical review of the results of the U.S. clinical trial
  (Petition at 29). The Agency, however, concluded that the clinical results of the supporting U.S.
  clinical trial were "similar enough to the results of the European studies" (the studies used to
  support the original approval ofMifeprex in Europe) that a statistical evaluation of the results of
  the U.S. trial was not required.36

  You maintain that the Mifeprex approval is not in accordance with Agency guidance37 on when
  only one effectiveness trial may be necessary for approval because: (1) mifepristone had not been
  approved for any use in any population in the United States and (2) no one had ever presented to
  FDA any evidence from adequate and well-controlled trials regarding any use for mifepristone. 38
  As stated above, our approval of Mifeprex was based on not one but three studies that met the
  requirements of§ 314.126. Therefore, Agency guidance concerning reliance on only one
  effectiveness trial is not relevant to the approval of Mifeprex.

  You argue that FDA's acceptance ofthe French and U.S. clinical trial data violated§ 314.126(e),
  which states that uncontrolled studies or partially controlled studies are not acceptable as the sole
  basis for approval of claims of effectiveness (Petition at 34-36). As explained above, the Mifeprex
  clinical trials were neither uncontrolled nor partially controlled. They were historically controlled,
  and the use of an historical control was appropriate under § 314.126(b)(2)(v). Consequently,
  § 314.1 26(e) is inapplicable.

  Citing § 314.500, you contend that the approval of Mifeprex under subpart H was improper
  because FDA did not require the concurrent testing of mifepristone with surgical abortion to test
  the proposition that mifepristone provides a meaningful therapeutic benefit over the standard
  method for terminating pregnancies (Petition at 37-40). You maintain that Mifeprex is the only
  drug that we have approved under § 314.520 (approval with restrictions to assure safe use) without
  requiring "that safety and efficacy be scientifically demonstrated through blinded, comparator-
  controlled, and randomized clinical trials" (Petition at 37).

  Nothing in subpart H requires that an applicant conduct comparative clinical trials in order to
  demonstrate that a drug product provides meaningful therapeutic benefit to patients over existing
  treatments. Furthennore, nothing in the concept of "meaningful therapeutic benefit" requires
  concmTent testing of a proposed drug with an existing treatment. 39 We have approved other drugs

  36
     FDA Memorandum to NDA 20-687 re: Statistical conm1ents on Amendment 024 , Feb. 14, 2000, avai lable
  at http: \\W\\ .accessdata.fda.gov drugsatfda docs nda '2000.'20687 Mifepristone statr.pdf.
  37
    FDA guidance for industry, Providing Clinical Evidence ofEffecriveness for Human Drug and Biological
  Products (Effecti veness Guidance), available on the FDA Drugs Web page at
  http: WW\\ .fda.gov Drugs GuidanceComplianceRegulatorylnformation/Guidances default.htm.
  38
       Petition at 3 1-32 (citing Effectiveness Guidance at 5-17).
  39
    You state that " [c]onducting a concurrently-controlled randomized trial comparing surgical abortion wi th
  the mifepristone-misoprostol regimen is readily achievable'· (Petit ion at 32, note 145). You add that " [t]here
  are study designs that would have also allowed for blinding'' (ld.). Assuming, arguendo, that it may have
  been feasible to design a randomized, concurrently-controlled study, such study was not required under our
  regulations; as described previously in this response, the clinical trials supporting the approval ofMifeprex


                                                            12
                                                                                                      App. 000489
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                          Page 28 of 105 PageID 9991
  Docket No. FDA-2002-P-0364


  under subpart H based on clinical trials that do not directly compare the drug to an existing
  therapy, including Gleevec (imatinib mesylate), Tracleer (bosentan), and Xyrem (sodium oxybate).
  We also note that the latter two referenced drug products, Tracleer (bosentan) and Xyrem (sodium
  oxybate), were approved under the restricted distribution provisions at 21 CFR 314.520. As
  previously explained in this response, Mifeprex was deemed to have in effect an approved REMS
  under Title IX ofFDAAA. The Mifeprex REMS, which was approved in June 2011 and is still in
  effect, incorporated the subpart H restrictions under which the drug was approved.

  As evidenced by the foregoing, the studies supporting the 2000 approval of Mifeprex were
  consistent with the FD&C Act and FDA regulations, including § 314.126 and subpart H.

          2.       There Is No Need for an Audit ofthe French Clinical Data

  You assert that FDA allowed "tainted data" to support the Mifeprex NDA by failing to require a
  comprehensive audit of the French clinical trial data after discovering violations of good clinical
  practices (Petition at 40-41 ). You maintain that we should therefore conduct a complete audit of
  all of the French clinical trial data to determine whether other trials must be conducted (Petition at
  41 and 89).

  We disagree with your characterization of both the French data and FDA's reliance on that data.
  You reference the Form FDA 483 issued on June 28, 2006, to Dr. Elisabeth Aubeny, as well as the
  Summary of Findings related to that Form FDA 483 . It is not uncommon to have trial sites receive
  a Fonn FDA 483, listing the FDA investigator's observations regarding non-compliance with good
  clinical practice, at the conclusion of an inspection. The investigator will draft an Establishment
  Inspection Report (EIR) that reviews the violations noted and will recommend an action, taking
  into consideration the nature of the inspectional findings, any actions that occurred following the
  findings , and Agency policy. For products regulated by CDER, compliance reviewers in the
  Division of Clinical Compliance Evaluation in the Office of Scientific Investigations (previously,
  the Division of Scientific Investigations) review the EIR, the Form FDA 483, and the evidence
  collected during the inspection, as well as any written response submitted timely by the inspected
  party, to determine whether the recommended action is appropriate and is supported by adequate
  evidence. This review evaluates each violation's effect on the timeliness, accuracy, and/or
  completeness of the data collected from the site to ascertain if the data are reliable. In this
  particular case, although there were violations cited on the Fonn FDA 483 and discussed in the
  EIR , the violations were detennined not to affect the reliability of the data provided by that site.
  The statement you quote from the Summary of Findings reflects this conclusion. We note that,
  although the French studies were not perfonned under a U.S. investigational new drug application
  (IND), this is typical of many approved drugs that originally were developed or studied outside the
  United States, and is fully pennissible under 21 CFR 312. 120 (Foreign clinical studies not
  conducted under an IND) (including the version of the provision in effect at the time of the 2000




  were historically controlled, which was appropriate under § 314.126(b)(2)(v). Furthermore, your suggestion
  that there are study designs that wou ld have allowed for blinding raises ethical issues that go beyond the
  scope of your Petition and this response.



                                                       13
                                                                                                  App. 000490
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                                Page 29 of 105 PageID 9992
  Docket No. FDA-2002-P-0364


  approval ofMifeprex). FDA concluded that the French trials were conducted in accordance with
  good clinical practice, 40 and the Agency was able to validate the data from those studies.

  It is worth noting that in 1996, when the Advisory Committee reviewed the French data without
  considering the U.S. data, the committee voted 6 to 2 that the French data alone demonstrated
                                                                                  41
  efficacy and 7 to 0 (with one abstention) that the French data supported safety. The subsequent
  approval of Mifeprex was based not only on the data from the two French trials but also on the data
  from the large Phase 3 U.S. trial. The Advisory Committee received a report on the U.S. trial (the
  article by Spitz, et al., referenced in note 12 above) and had no comments.

  For the foregoing reasons, there is no scientific or regulatory need for us to further review the
  French clinical data on Mifeprex.

             3.       Your Request for an Audit of the U.S. Clinical Data

  In addition to your request that FDA conduct a full audit of the data from the French trials, you
  request that FDA conduct a full audit of all data from the U.S. trial (Petition at 1-2 and 89). Other
  than one footnote referring to a letter from the NDA sponsor to FDA (Petition at 89, note 384), you
  have provided no information supporting this request. Accordingly, we do not address this request
  further, other than to note that we do not believe there is any scientific or regulatory need to further
  review the U.S. clinical trial data relied on for approval of the Mifeprex NDA.

  C.         FDA Lawfully Approved Labeling for Mifeprex for Use with Misoprostol

  You contend that FDA 's "de facto" approval ofmisoprostol for use with Mifeprex as part of a
  medical abortion regimen was unlawful because the holder of the only approved NDA for
             42
  misoprostol did not submit a supplemental NDA for this new use (Petition at 41 -45). You further

  40
     The regulations in effect at the time of the Mifeprex approval in 2000 refer to FDA accepting such studies
  when they are " well designed, we ll conducted, performed by qualified investigators, and conducted in
  accordance with ethical principles acceptable to the world community" FDA has genera lly interpreted that
  language as incorporating the principles of"good clinical practice" (see, e.g., lCH guidance for industry, ICH
  £6 Good Clinical Practice: Consolidated Guidance (E6 Guidance), available on the FDA Drugs Web page at
  http:, www.fda.gov Drugs. GuidanceComplianceRegulatorylnfonnation/Guidances default.htm), wh ich is the
  term used in the current regulations. The E6 Guidance states that GCP:

             is an intemational ethical and scientific quality standard for designing, conducting,
             recording, and reporting trials that involve the participation of human subjects. Compliance
             with this standard provides public assurance that the rights, safety, and well-being of trial
             subjects are protected, consistent with the principles that have their origin in the Declaration
             of Helsinki, and that clinical trial data are credible

  (E6 Guidance at I).
  41
       Mifeprex Approval Memorandum, supra note 16, at 1.
  42
    Two abbreviated new drug applications (MTDAs) for misoprostol have been approved since Mifeprex was
  approved: ANDA 076095 (IVAX Pham1aceuticals, Inc., approved July 10, 2002) and ANDA 091667 (Novel
  Laboratories Inc., approved July 25, 20 12).




                                                           14
                                                                                                         App. 000491
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                             Page 30 of 105 PageID 9993
  Docket No. FDA-2002-P-0364


  argue that FDA not only sanctioned, but participated in, the promotion of an off-label use of
  misoprostol by overseeing the creation ofMifeprex promotional materials that discuss the off-label
  use of misoprostol and by disseminating information about the off-label use in documents such as
  the press release announcing Mifeprex's approval (Petition at 46-47).

  The approval ofMifeprex was based on evidence from three adequate and well-controlled clinical
  trials using the treatment regimen of administration of mifepristone on day one, followed
  approximately 48 hours later (i.e., on day three) by the administration ofmisoprostol (unless a
  complete abortion has already been confirmed before that time). Neither the FD&C Act nor FDA
  regulations require the submission of a supplemental NDA by the sponsor of the misoprostol NDA
  for the use of misoprostol as part of the approved treatment regimen for Mifeprex. In this
  situation, the "drug product" subject to section 505(b) of the FD&C Act (21 U.S.C. 355(d)) was
  Mifeprex. 43 The NDA for Mifeprex appropriately contained the full reports of investigations which
  have been conducted to show whether .or not "such drug" is effective in use(§ 505(b)(l) of the
  FD&C Act), and FDA appropriately found that the Mifeprex NDA met the approval requirements
  in § 505(d) of the FD&C Act.

  There are a number of drug products that FDA has approved as safe and effective in combination
  with another drug for a use that was not sought by the applicant of the second drug product, and for
  which the Agency did not require any change in the labeling of the second product (i.e., that the
  second product's labeling include the indication for use with the newly approved drug product).
  Examples of approved drug labeling that refer to the concomitant use of another drug without there
  being a specific reference to the combined therapy in the previously approved labeling for the
  referenced drug include the following:

                •    Xeloda (capecitabine) for treatment of metastatic breast cancer in
                     combination with Taxotere (docetaxel) after failure of prior anthracycline-
                                        4
                     containing therap/


  43
     In the Response to Opposition, you reference a July 2, 2002, letter submitted by the Population Council to
  Docket 0 I E-0363 re: Determination of Regulatory Review Period for Purposes of Patent Extension; Mifeprex
  (Response to Opposition at 12-13). ln its July 2, 2002, letter, the Population Council made several statements
  regarding what it believed should be considered " the approved human drug product" for purposes of21 CFR
  60.22(a)(J ), fo r purposes of patent term restoration. In the Agency's October 24, 2002, notice amending
  FDA 's previous determination of the regulatory review period for Mifeprex (67 FR 65358), we addressed -
  and rej ected - the Population Council ' s assertions. We stated that "[t]he app licant tries to characterize
  Mifeprex as mifepristone 'in combination with another active ingredient' in an attempt to take advantage of
  portions of the definition of 'human drug product' in 35 U.S.C I 56(f), that is, a human drug product means
  'the active ingredient of a new drug * * * as a single entity or in combination with another active ingredient.·
  The applicant points to the definition of ' combination product' at 2 1 CFR 3.2( e) in this eff011. A more useful
  description of a drug ' in combination with another active ingredient' is found at 2 1 CFR 300.50 (two or more
  drugs combined in a single dosage form). Mifeprex is not mifepristone ' in combination with another acti ve
  ingredient. ' Mifeprex is single entity mifepristone" (67 FR 65358, note 2).
  44
    We note your assertion tha t when Xeloda and Taxotere are used together, each is being used for an FDA-
  approved use (Response to Opposition at 11). Taxotere (docetaxel) was approved on May 14, 1996; its
  current labeling states that it is indicated as a single agent for treatment of locally advanced or metastatic
  breast cancer after failure of prior chemotherapy, and in combination with doxorubicin and cyclophosphamide
  as adjuvant treatment of patients with operable node-positive breast cancer. Xeloda (capecitabine), which


                                                         15
                                                                                                      App. 000492
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                            Page 31 of 105 PageID 9994
  Docket No. FDA-2002-P-0364


                •    Nexium (esomeprazole magnesium) in combination with clarithromycin
                     and amoxicillin for H. pylori eradication
                •    Persantine (dipyridamole) as an adjunct to coumarin anticoagulants for
                     prevention of postoperative thromboembolic complications of cardiac valve
                     replacement
                •    Herceptin (trastuzumab) in combination with paclitaxel for treatment of
                     metastatic breast cancer
                •    Vistide ( cidofovir) administered with probenecid for treatment of CMV
                     retinitis in patients with AIDS
                •    Daraprim (pyrimethamine) for treatment of toxoplasmosis when used
                     conjointly with a sulfonamide

  You maintain that the labeling for Mifeprex is misleading because it directs physicians to use
  misoprostol for a purpose that FDA never approved and because it creates the false expectation
  that misoprostol is approved for medical abortion (Petition at 47). We disagree that the labeling
  for Mifeprex is misleading by virtue of the fact that it includes instructions for the use of
  misoprostol as part of the approved treatment regimen for Mifeprex. The Mifeprex labeling
  appropriately describes the clinical trial treatment regimen in which Mifeprex was shown to be safe
  and effective. The labeling for Mifeprex makes clear that Mifeprex tablets contain mifepristone,
  not misoprostol, and although the Indication and Usage section in the 2000 labeling does address
  the use ofmisoprostol in a regimen with Mifeprex, the labeling is clearly addressed to Mifeprex.

  You claim that Mifeprex is misbranded because, per 21 CFR 201.6(a), the references to
  misoprostol in the Mifeprex labeling constitute a false or misleading representation that
  misoprostol itself is approved for medical termination of pregnancy (Petition at 48). In addition,
  you contend that Mifeprex is misbranded under section 502(j) of the FD&C Act (21 U.S.C. 352(j))
  because it is unsafe when used as directed in the 2000 approved labeling (id.).

  The references to misoprostol in the Mifeprex labeling do not render Mifeprex misbranded as
  described in § 201.6(a) because the labeling does not make any false or misleading representations
  with regard to misoprostol. We detennined, and the labeling reflects, that Mifeprex is safe and
  effective for the tennination of early pregnancy when used in combination with misoprostol. The
  approval was based on evidence from adequate and well controlled clinical trials in which
  misoprostol was administered two days after mifepri stone to help stimulate uterine contractions;
  accordingly, the approved labeling describes the use ofMi feprex in combination with misoprostol.


  originally was approved on April 30, 1998, for the treatment of metastatic breast cancer that is resistant to
  both paclitaxel and an anthracycline-containing chemotherapy regimen or resistant to paclitaxel and for whom
  further anthracyc line therapy may be contraindicated, is cun-ently approved (in addition to other indications)
  for use in combination with docetaxel for treatment of patients with metastatic breast cancer after failure of
  prior anthracycline-containing chemotherapy. The indication to which this response refers is the concomitant
  use (i.e., use in combination) of the two drugs, a use that is not referenced in the labeling for Taxotere. Your
  arguments with respect to Actos (pioglitazone) in combination with a sulfonylurea, metformin, or insulin;
  Viread (tenofovir disproxil fumarate) in combination with other antiretroviral agents; and Nexium
  (esomeprazole magnesium) in combination with clarithromycin and amoxicillin (id.) are similarly inapposi te.




                                                        16
                                                                                                     App. 000493
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                           Page 32 of 105 PageID 9995
  Docket No. FDA-2002-P-0364


  Additionally, the approved labeling in no way implies that misoprostol alone would be safe and
  effective for the tennination of pregnancy. Thus, the statements in the labeling are neither false
  nor misleading with regard to the use of misoprostol.

  With regard to section 502U) of the FD&C Act, Mifeprex is not misbranded under that provision
  because, as discussed in the following section, the approved regimen for Mifeprex is not
  "dangerous to health when used in the dosage or manner; or with the frequency or duration
  prescribed, recommended, or suggested in the labeling thereof. "

  D.       Mifeprex Is Safe for Its Approved Use and the Conditions of Approval Do Not Lack
           Essential Safeguards

  You contend that FDA "approved mifepristone for use in a deregulated regimen that lacks key
  safeguards" (Petition at 5). You claim that in 2000, the Population Council repudiated distribution
  restrictions that it had proposed in 1996, and that FDA subsequently approved a regimen that does
  not embody restrictions sufficient to address legitimate safety concerns (Petition at 49). You note
  that the February 18, 2000, Mifeprex approvable letter stated that restrictions (per § 314.520) on
  the distribution and use ofMifeprex were needed to ensure safe use of the drug but that in March
  2000, the Population Council said such restrictions were unwarranted (Petition at 51-52). You
  claim that we later yielded to the applicant on several important issues (Petition at 54-55).

  FDA has found that Mifeprex is safe and effective for its intended use. It is true that, before the
  2000 approval ofMifeprex, FDA and the applicant were not always in full agreement about the
  distribution restrictions. It is not unusual for such differences to emerge during the course of the
  review process for a proposed drug product. We ultimately determined that the distribution
  restrictions stated in the approval letter were appropriate to ensure the safety of Mifeprex for its
  intended use.45 Three adequate and well-controlled clinical trials supported the safety of Mifeprex
  for its intended use, and over 15 years of postmarketing data and many comparative clinical trials
  in the United States and elsewhere continue to support the safety of this drug product. 46 Further,
  we approved a risk evaluation and mitigation strategy (REMS) for Mifeprex in June 2011 ,
  consisting of a Medication Guide, elements to assure safe use, an implementation system, and a
  timetable for submission of assessments of the REMS .

  Following is our response to the specific safety issues you raise in the Petition.

           1.       Ultrasound Dating

  45
     We note your reference in your Response to Opposition to the statement by the Reproductive Health Drugs
  Advisory Committee that it had concems about the distribution proposal discussed at the Jul y 19, 1996,
  meeting (Response to Opposition at 4 (referencing the minutes from the I 996 Reproductive Health Drugs
  Advisory Conm1ittee meeting)). In light of FDA's determination in 2000 that the distribution restrictions
  stated in the approval were appropriate to ensure that Mifeprex was safe for its intended use, as well as the
  20 1 1 approval of the Mifeprex REMS, the Committee's reservations in 1996 are not applicable.
  46
    See, e.g., Raymond, EG, et a!., 20 13, First-Trimester Medical Abortion With Mifepristone 200 mg and
  Misoprostol: A Systematic review, Contraception, 87:26-37 In this article, 87 trials were reviewed and 91
  references were cited.




                                                       17
                                                                                                   App. 000494
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                             Page 33 of 105 PageID 9996
  Docket No. FDA-2002-P-0364



  You maintain that the Mifeprex regimen is unsafe because it does not require ultrasound
  examination. Specifically, you maintain that the use of transvaginal ultrasound is necessary to
  accurately date pregnancies and to identify ectopic pregnancies, and you note both that Mifeprex
  was approved in 2000 only for women through 49 days' gestation and that it is contraindicated for
  women with a confirmed or suspected ectopic pregnancy (Petition at 57-61).

  Although the protocol for the U.S. clinical trial required a transvaginal sonogram (TVS) for each
  patient at Visit 1 and stated that the test should be used "as indicated" at Visits 2 and 3, this does
  not mean that a TVS is essential to ensure the safe use ofMifeprex. 47 As stated in the Mifeprex
  Approval Memorandum, during the review process, the Agency carefully considered the role of
               48
  ultrasound. In the clinical trials, ultrasound was performed to ensure proper data collection on
  gestational age, but in clinical practice, pregnancies can also be (and frequently are) dated using
  other clinical methods. (As discussed in section II.F below, safeguards employed during clinical
  trials are not always essential for safe use of the approved drug product.) As part of the restricted
  distribution ofMifeprex put in place in 2000, each provider must have the ability to accurately
  assess the duration of pregnancy and to diagnose ectopic pregnancy. We determined that it was
  inappropriate for us to mandate how providers clinically assess women for duration of pregnancy
  and for ectopic pregnancy. These decisions should be left to the professional judgment of each
  provider, as no method (including TVS) provides complete accuracy. The approved labeling for
  Mifeprex recommended ultrasound evaluation as needed, leaving this decision to the judgment of
  the provider.

  You claim that the only way to date a pregnancy accurately enough to exclude EGA > 49 days is
  by using TVS (Petition at 58). That is incorrect. As noted above, using TVS (or any other
  method) does not ensure complete accuracy in dating a pregnancy. In most cases, a provider can
  accurately make such a determination by performing a pelvic examination and obtaining a careful
  history, whi9h would include the following: date of last menstrual period, regularity of menses,
  intercourse history, contraceptive history, and (if available) home pregnancy test results. 49 If in
  doubt, the provider can order an ultrasound and/or a blood test measuring the quantitative beta-
  human chorionic gonadotropin (hCG) to further assist in dating the gestational age.

  Furthermore, use of a TVS does not guarantee that an existing ectopic pregnancy will be identified.
  As of April 30, 2015, there were 89 unduplicated reports in FDA's Adverse Event Reporting
  System (F AERS) database of ectopic pregnancy in women in the United States who had received
  mifepristone for tennination of pregnancy since the approval of Mifeprex in the United States. In

  47
   We note that the French clinical trials did not require an ultrasound examination; rather, the decision as to
  whether an ultrasound was needed was left to the discretion of the investigator.
  48
       Mifeprex Approval Memorandum, supra note 16, at 5.
  49
     See, e.g., Fielding, SL, et al., 2002, Clinicians' Perception of Sonogram Indication for Mifepristone Abortion up to
  63 Days, Contraception, 66: 27-3 1 (discussing the results of a prospective study of 1,016 women in a medical abortion
  trial at 15 sites that concluded that ·'clinicians conectly assessed gestat ional age as no more than 63 days in 87% of
  women. In only 1% (14/ 10 13) of their assessments did clinicians underestimate gestational age. We conclude that the
  clinicians felt confident in not using ultrasound in most cases").



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                                                                                                     App. 000495
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                              Page 34 of 105 PageID 9997
  Docket No. FDA-2002-P-0364


  42.7% (38 of89) of the reported cases, an ultrasound was completed. Of the 38 cases that had an
  ultrasound completed, 55.3% (21 of 38) showed no changes indicative of ectopic pregnancy.50 In
  light of the fact that Mifeprex is contraindicated for women with a confirmed or suspected ectopic
  pregnancy, we believe it is reasonable to expect that the women's providers would not have
  prescribed Mifeprex if a pelvic ultrasound examination had clearly indicated an ectopic pregnancy;
  this strongly suggests, therefore, that ultrasound examinations were falsely negative for ectopic
  pregnancy in these women. The currently approved labeling for Mifeprex reflects this, stating that
  the "presence of an ectopic pregnancy may have been missed even if the patient underwent
                                                          51
  ultrasonography prior to being prescribed Mifeprex."

           2.       Physician Training and Admitting Privileges

  You contend that the administration of Mifeprex should have been restricted to physicians who
  have formal training in both pharmaceutical and surgical abortion and who have admitting
  privileges to emergency facilities (Petition at 62-65).

  Although we did not restrict the administration ofMifeprex to physicians with the specific
  requirements you list in your Petition, we did conclude in 2000 that Mifeprex had to be provided
  by a physician who, among other qualifications, either (1) has the ability to provide surgical
  intervention in cases of incomplete abortion or severe bleeding or (2) has made plans to provide
  such care through other qualified providers and facilities.

  During the clinical trials for Mifeprex, the principal investigators were trained in surgical abortions
                                                                    2
  and were able to conduct any necessary surgical interventions. 5 The protocol for the U.S. trial
  was designed such that the studies were conducted at 17 centers where the principal investigators
  could perform abortions by either vacuum aspiration or dilatation and curettage and had access to
  facilities that provided blood transfusions and performed routine emergency resuscitation
  procedures.

  During the NDA review process, the issue of physician qualifications and certification was
  thoroughly discussed within the Agency, with the applicant, and with an outside consultant with
  expertise in early pregnancy tem1ination. Although the distribution of Mifeprex was not restricted
  to any particular medical specialist, the Agency did determine in 2000 that certain restrictions were

  50
     Seventeen cases were identified as having an ultrasound with a possible ectopic pregnancy. Fourteen of
  these 17 (82.3%) cases noted appropriate follow-up procedures, such as additional hCG monitoring,
  ultrasounds, appointments, or emergency room referral, while two cases did not include any additional
  follow-up infom1ation. In the re maining case, a diagnosis of a heterotop ic gestation (simultaneous ectopic
  pregnancy and intrauterine pregnancy) was noted .

  51
    M ifeprex labe ling (Mar. 29, 20 16) available at
  http: wwv1.accessdata.fda.g0\ scripts cder drugsatfda index.cfm?fuseactio n Search.Label ApprovalHistory#
  apphist. .

  52
     Additionall y, it is conunon in drug deve lopme nt that the clinical investigators who conduc t pivotal Phase 3
  clinical trials have more sp ecialized training than may be necessary to ensure the safe use of a drug post-
  approval. Examples are trials for male erectile dysfunction (typically conducted by urologists), hypertension
  (internists), depression (psychiatrists), and endometriosis (gynecologists).




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                                                                                                        App. 000496
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                              Page 35 of 105 PageID 9998
  Docket No. FDA-2002-P-0364


  necessary under§ 314.520. In accordance with this detennination, the Prescriber's Agreement for
                                 53
  Mifeprex stated the following:

             Under Federal law, Mifeprex must be provided by or under the supervision of a physician
             who meets the following qualifications:

             •   Ability to assess the duration of pregnancy accurately.
             •   Ability to diagnose ectopic pregnancies.
             •   Ability to provide surgical intervention in cases of incomplete abortion or severe
                 bleeding, or have [sic] made plans to provide such care through others, and are [sic]
                 able to assure patient access to medical facilities equipped to provide blood transfusions
                 and resuscitation, if necessary.
             •   Has read and understood the prescribing information ofMifeprex ....

  As noted in the Mifeprex Approval Memorandum, the requirement that a physician certify, by
  signing the Prescriber Agreement, that he or she has the qualifications described in that Agreement
  limited the physicians who would be eligible to receive Mifeprex from the sponsor to those who
  are familiar with managing early pregnancies. 54 Because only such qualified physicians would be
  using or would oversee the use of Mifeprex, we concluded that there was no need for special
  certification programs or additional restrictions. Additionally, as noted in the Mifeprex Approval
  Memorandum, in the U.S. clinical trial ofMifeprex, 11 out of roughly 850 patients needed surgical
  intervention to treat bleeding, and three of these patients were treated by non-principal
  investigators such as emergency room physicians and a non-study gynecologist. 55 These data
  suggested that patients would receive any needed surgical intervention from either their physician
  or another physician with the needed skills. 56 The Mifeprex Approval Memorandum also pointed
  out that the Mifeprex labeling and the Medication Guide approved at that time highlight that
  surgery may be needed and that patients must understand whether the provider will furnish any
  necessary medical intervention or whether they will be referred to another provider and/or
  facility. 57

  In addition, one of the Phase 4 commitments accompanying the approval of Mifeprex was a
  cohort-based study of safety outcomes when Mifeprex is prescribed by physicians with the skills
  for surgical intervention compared to physicians who refer patients for surgical intervention. ln a
  February 2008 submission, the applicant stated that so few medical abotiions are prescribed by
  physicians who do not have surgical intervention skills that it was not feasib le to do a meaningful


  53
     M ifeprex label ing (June 8, 20 II ), Mifeprex (mifepristone) tablets, 200 mg, Prescriber' s Agreement,
  available at
  http://www.accessdata.fda.gov/drugsatfda _ docs/labeV20 II /020687s0 14lbl.pdf.
  54
       Mifeprex Approval Memorandum, supra note 16, at 5.

  ss Id.

  56 Id.


  57 Id.




                                                         20
                                                                                                       App. 000497
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                     Page 36 of 105 PageID 9999
  Docket No. FDA-2002-P-0364


  study to assess this specific issue. After review of this submission, the Agency: (1) concurred
  with the applicant regarding the non-feasibility of conducting a meaningful study and (2)
  concluded that no differences between non-referrers or referrers in terms of clinical outcomes
  could be identified based on the data that had been submitted. Accordingly, on September 26,
  2008, the Agency released the applicant from this commitment.

  The provi sions of the currently approved labeling (including the REMS) that relate to provider
  training and admitting privileges are substantially similar to the labeling provisions approved in
  2000. Under current labeling, healthcare providers who admini ster Mifeprex must be licensed to
  prescribe, and must have the ability to date pregnancies accurately and to diagnose ectopic
  pregnancies. These healthcare providers must also (1 ) be able to provide any necessary surgical
  intervention, or (2) have made arrangements for others to provide for such care. Healthcare
  providers must be able to ensure that women have access to medical facilities for emergency care,
  and must agree to other responsibilities, including reviewing and signing the Patient Agreement
  Form with the patient and providing each patient with a copy of the signed Patient Agreement
  Form and the Medication Guide. 5 8

          3.      " Dear Health Care Provider" Letter and FDA "Mifepristone Questions and
                  Answers"; Adverse Events Discussed in Response to Opposition

  You maintain that your concerns about the safety ofMifeprex are validated by the April1 9, 2002,
  "Dear Health Care Provider" letter issued by Danco and by statements in the "Mifepristone
  Questions and Answers" (Mifepristone Q&A) document (placed on FDA 's Web site on April 17,
  2002) about reports of serious adverse events, including ruptured ectopic pregnancies and serious
  systemic bacterial infections (Petition at 65-71). You argue that FDA understated the possibility
  that the Mifeprex regimen caused the serious adverse events referred to in the letter and
  inappropriately attempted to link those events to the unapproved vaginal administration of
  misoprostol (Petition at 67-68).

  The fact that Danco and FDA agreed that there was a need to issue a Dear Health Care
  Provider letter in April 2002 (or that a subsequent Dear Health Care Provider letter and a
  Dear Emergency Room Director letter were issued on September 30, 2004) does not imply
  that the approved Mifeprex regimen is unsafe. It is not uncommon for drug sponsors to
  issue "Dear Health Care Provider" letters, and, as noted in the Mifepristone Q&A
  document posted on our Web site in April 2002, " [w]hen FDA receives and reviews new
  informati on, the agency provides appropriate updates to doctors and their patients so that
  they have essential information on how to use a drug safely." 59 The intent of the two " Dear
  Health Care Provider" letters and the " Dear Emergency Room Director" letter was to
  provide health care pers01mel with new safety infom1ati on regarding the use ofMifeprex.
  Similarly, when these letters were issued, we posted Mifepristone Q&A documents to


  58
     Mifeprex REMS, avai lable at
  http://wv.rw.accessdata .fda.gov/scripts/cder/rems/index.cfm?event= IndvRemsDetails.page&REMS=35
  59
     See Historical Information on Mifepristone (Marketed as Mifeprex), available at
  http: www.fda.go" Drugs DrugSafety PostmarketDrugSafet) Infom1ationforPatientsandPro\'iders ucm 11133
  4.htm.



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                                                                                            App. 000498
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                            Page 37 of 105 PageID 10000
   Docket No. FDA-2002-P-0364


   address questions that might arise as a result of the issuance of the letters. We disagree that
   we have in any way "inappropriately attempted to link" the adverse events to the
   intravaginal use of misoprostol. Rather, the April 2002 Mifepristone Q&A document
                                                                         60
   accurately stated that in all of the adverse event cases at that time, the misoprostol was
   given vaginally not orally; that we did not know what role, if any, the use of Mifeprex and
   vaginal misoprostol may have in the development of serious infections; and that FDA had
   not reviewed data on the safety and effectiveness of vaginal administration of misoprostol.

   You maintain that it is particularly important for FDA to respond to these adverse events because
   the clinical trials in support ofMifeprex allegedly did not adhere to the Agency's scientific
   methodology for such trials (Petition at 70). As explained above, however, the clinical trials
   supporting the approval of Mifeprex were adequate and well-controlled, and they provided
   substantial evidence of the safety and effectiveness of the drug product in accordance with the
   FD&C Act and FDA regulations.

   In your Response to Opposition, you state that the serious adverse events reported to date are
   consistent with concerns expressed before approval (Response to Opposition at 16). You refer to
   the death of Holly Patterson on September 17, 2003, after she had taken Mifeprex and misoprostol
   to terminate her pregnancy. You state that Ms. Patterson's apparent death from a serious systemic
   bacterial infection after taking Mifeprex is "not the first such death since FDA approved
   Mifeprex," referring to a fatality due to serious systemic bacterial infection mentioned in the April
   2002 "Dear Health Care Provider Letter" (Response to Opposition at 16-17). You also question
   whether adverse events for Mifeprex will be adequately reported to FDA (Response to Opposition
   at 18).

   As with all approved drug products, we continue to monitor the safety ofMifeprex. Since the
   approval ofMifeprex, the Agency has issued two public health advisories (one in July 2005 61 and
   one in March 200662 ) and posted multiple MedWatch safety alerts (in November 2004 63 and July
   2005, the latter with updates in November 2005 and March 2006 64 ). As referenced above, Danco
   has issued two Dear Health Care Provider letters and one Dear Emergency Room Director letter.
   Furthennore, since you submitted your Response to Opposition, Danco has revised the labeling for

   60
        The April 2002 Mifepristone Q&A document refers to cases of ectopic pregnancy, sepsis, and heart attack.

   61
      Available at,
   http://www.fda.go" Drugs DrugSafety PostmarketDrugSafetylnfom1ationforPatientsandProviders ucm05173
   4.htm.
   62
      Available at
   http: WW\\ .fda. go\ Drugs DrugSafety/PostmarketDrugSafetylnfomlationforPatientsandProviders ucm05119
   6.htm.

   63
      Available at
   http ://www.fda.gov/Safety/MedWatch Safetylnfom1ation/SafetyAiertsforHumanMedicaiProducts/ucrn 166463
   .htm.

   64
      Available at
   http: \\W\\ .fda. gO\ Drugs DrugSafety' PostmarketDrugSafetylnfonnationforPatientsandPro' iders ucm 11133
   9.htm.




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                                                                                                     App. 000499
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                           Page 38 of 105 PageID 10001
   Docket No. FDA-2002-P-0364


   Mifeprex (including the prescribing information, the Medication Guide, and the Patient
                                                                              65
   Agreement), in November 2004, December 2004, July 2005, and April 2009 to provide
   prescribers and women with additional infonnation about infection, vaginal bleeding, and ectopic
   pregnancy.

   The boxed warning for Mifeprex currently states the following:

            Serious and sometimes fatal infections and bleeding occur very rarely following
            spontaneous, surgical, and medical abortions, including following MIFEPREX use. No
            causal relationship between the use ofMIFEPREX and misoprostol and these events has
            been established.

            •      Atypical Presentation of Infection. Patients with serious bacterial infections (e.g.,
            Clostridium sordellii) and sepsis can present without fever, bacteremia, or significant
            findings on pelvic examination following an abortion. Very rarely, deaths have been
            reported in patients who presented without fever, with or without abdominal pain, but with
            leukocytosis with a marked left shift, tachycardia, hemoconcentration, and general malaise.
            A high index of suspicion is needed to rule out serious infection and sepsis.

           •       Bleeding. Prolonged heavy bleeding may be a sign of incomplete abortion or other
           complications and prompt medical or surgical intervention may be needed. Advise patients
           to seek immediate medical attention if they experience prolonged heavy vaginal bleeding.

            Because of the risks of serious complications described above, MIFEPREX is available
            only through a restricted program under a Risk Evaluation and Mitigation Strategy (REMS)
            called the MIFEPREX REMS Program.

           Before prescribing MIFEPREX, inform the patient about the risk of these serious events.
           Ensure that the patient knows whom to call and what to do, including going to an
           Emergency Room if none of the provided contacts are reachabl e, if she experiences
           sustained fever, severe abdominal pain, prolonged heavy bleeding, or syncope, or if she
           experiences abdominal pain or discomfort, or general malaise (including weakness, nausea,
           vomiting or diarrhea) for more than 24 hours after taking misoprostol.

           Advise the patient to take the Medication Guide with her if she visits an emergency room or
           a healthcare provider who did not prescribe MIFEPREX, so that the provider knows that
           she is undergoing a medical abortion .




   65
     The Mifeprex labeling also was revised in June 2011 whe n the REMS was approved. In addition, as
   described above, FDA is today approving a supplemental NDA submitted by Danco that proposed modified
   labeling for Mifeprex. See Mifeprex labeling (Mar. 29, 20 16) available at
   http: ww\\ .accessdata.fda.gov scripts cder drugsatfda index.cfm'?fuseaction Search. Label Approvalll istoryft
   apphist.




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                                                                                                    App. 000500
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 39 of 105 PageID 10002
   Docket No. FDA-2002-P-0364


   The WARN INGS section of the Mifeprex labeling states, in part, the following:

   [With respect to infection and sepsis.]

          As with other types of abortion, cases of serious bacterial infection, including very rare
          cases of fatal septic shock, have been reported following the use ofMIFEPREX. Healthcare
          providers evaluating a pati ent who is undergoing a medical abortion should be alert to the
          possibility of this rare event. A sustained (> 4 hours) fever of 100.4 op or higher, severe
          abdominal pain, or pelvic tenderness in the days after a medical abortion may be an
          indication of infection.

          A high index of suspicion is needed to rule out sepsis (e.g., from Clostridium sordellii) if a
          patient reports abdominal pain or discomfort or general malaise (including weakness,
          nausea, vomiting or diarrhea) more than 24 hours after taking misoprostol. Very rarely,
          deaths have been reported in patients who presented without fever, with or without
          abdominal pain, but with leukocytosis with a marked left shift, tachycardia,
          hemoconcentration, and general malaise. No causal relationship between MIFEPREX and
          misoprostol use and an increased risk of infection or death has been established.
          Clostridium sordellii infections have also been reported very rarely following childbirth
          (vaginal delivery and caesarian section), and in other gynecologic and non-gynecologic
          conditions.

   [With respect to uterine bleeding.]

          Uterine bleeding occurs in almost all patients during a medical abortion. Prolonged heavy
          bleeding (soaking through two thick full-size sanitary pads per hour for two consecutive
          hours) m ay be a sign of incomplete abortion or other complications and prompt medical or
          surgical intervention may be needed to prevent the development of hypovolemic shock.
          Counsel patients to seek immediate medi cal attention if they experience prolonged heavy
          vaginal bleeding following a m edical abortion.

          Women should expect to experience vaginal bleeding or spotting for an average of 9 to 16
          days. Women report experiencing heavy bleeding for a median duration of2 days. Up to
          8% of all subj ects may experience some type of bleeding for 30 days or more. In general,
          the duration of bleeding and spotting increased as the duration of the pregnancy increased.

          Decreases in hemoglobin concentration, hematocrit, and red blood cell count may occur in
          women who bl eed heavil y.

          Excessive uterine bl eeding usuall y requires treatment by uterotonics, vasoconstrictor drugs,
          surgical uterine evacuati on, administration of saline infusions, and/or blood transfu-.sions.
          Based on data from several large clinical trials, vasoconstri ctor drugs were used in 4.3% of
          all subjects, there was a decrease in hemoglobin of more than 2 g/dL in 5.5% of subjects,
          and blood transfusions were administered to :S 0.1 % of subjects. Because heavy bleeding
          requiring surgical uterine evacuation occurs in about 1% of patients, special care should be
          given to patients with hemostatic disorders, hypocoagulability, or severe anemi a.



                                                24
                                                                                      App. 000501
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                               Page 40 of 105 PageID 10003
   Docket No. FDA-2002-P-0364



   [With respect to ectopic pregnancy.]

              MIFEPREX is contraindicated in patients with a confirmed or suspected ectopic pregnancy
              because MIFEPREX is not effective for terminating ectopic pregnancies. Healthcare
              providers should remain alert to the possibility that a patient who is undergoing a medical
              abortion could have an undiagnosed ectopic pregnancy because some of the expected
              symptoms experienced with a medical abortion (abdominal pain, uterine bleeding) may be
              similar to those of a ruptured ectopic pregnancy. The presence of an ectopic pregnancy may
              have been missed even if the patient underwent ultrasonography prior to being prescribed
              MIFEPREX.

              Women who became pregnant with an IUD in place should be assessed for ectopic
              pregnancy.

   The Agency has regularly completed a cumulative summary of U.S. postmarketing adverse events
   reported for the use of mifepristone for medical termination of pregnancy. From the approval date
   ofMifeprex (September 28, 2000) through October 31 , 2012, we received 2,740 reports of adverse
   events associated with the use ofmifepristone in the United States to terminate pregnancy,66
   including 57 reports of severe infections67 and 416 incidences of blood loss requiring transfusion.
   From November 1, 2012, through April 30, 2015, we received 984 reports of adverse events
   associated with the use ofmifepristone in the United States to terminate pregnancy, includin& 9
   reports of severe bacterial infections and 134 incidences of blood loss requiring transfusion. 6 As
   of April 30, 2015, 89 ectopic pregnancies associated with the use of mifepristone in the United
   States had been reported since the approval ofMifeprex. As of July 24, 2015, 17 U.S. deaths had
   been reported since the approval of Mifeprex. Deaths were associated with sepsis in 8 of the 17
   reported fatalities (7 cases tested positive for Clostridium sordellii, and 1 case tested positive for
   Clostridium p erfringens). 69 Seven of the eight fatal sepsis case reported vaginal misoprostol use;

   66
        This represents data from the FDA 's previous adverse event reporting system, which was known as AERS.
   67
      Severe infections generally involve death or hospi talization for at least 2-3 days, intravenous antibiotics for
   at least 24 hours and total antibiotic usage for at least 3 days, and any other physical or clinical findings,
   laboratory data or surgery that suggest a severe infection.
   68
     This represents data from the current FDA Adverse Event Reporting System (FAERS), which was
   implemented in September 20 12 and replaced AERS . FDA mi grated all of the data fro m the previous
   reporting system (AERS) to FAERS. FDA validated and recoded product information as the reports from the
   AERS database were migrated to the F AERS database. In addition, the F AERS database features a new
   search functi onality that is based on the date FDA initially received for the case; this facilitates more accurate
   follow-up for cases that have multiple reports and multiple receipt dates. For these reasons, there may be
   differences in the case counts between AERS and F AERS.
   69
     We note your statements in your October I 0, 2003, Response to Opposition Comments that the presence of
   retained products of conception can lead to the development of intrauterine or systemic infection and that
   Mifeprex might potentiate this possibility through negative effects on immune system function or normal
   protective mechanisms (Response to Opposition at 17). Regarding retained product of conception and the
   emergence of infections, based on autopsy and/or ultrasound reports, there were no retained products of
   conception in any o f the eight deaths associated with infections (sepsis). With respect to your claim that
   Mifeprex might increase the likelihood of infection by adversely affecting immune system function, although


                                                           25
                                                                                                         App. 000502
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                              Page 41 of 105 PageID 10004
   Docket No. FDA-2002-P-0364


   one case reported buccal misoprostol use. Seven of the nine remaining U.S. deaths involved two
   cases of ruptured ectopic pregnancy and one case each ofthe following: substance abuse/drug
   overdose; methadone overdose; suspected homicide; suicide; and a delayed onset of toxic shock-
   like syndrome. In the eighth case, the cause of death could not be established despite performance
   of an autopsy; tissue samples were negative for C. sordellii. In the ninth case, infection was ruled
                                                                                         70
   out and the final autopsy report listed pulmonary emphysema as the cause of death.

   We disagree with your assertion that adverse event reporting for Mifeprex is "spotty" and that, as a
   result, the database for post-approval adverse events for Mifeprex is incomplete (Response to
   Opposition at 18). You are correct that reporting to the Agency's MedWatch program is voluntary,
   and we acknowledge that there is always a possibility with any drug that some adverse events are
   not being reported. We believe, however, that the potential for underreporting of serious adverse
   events associated with the use ofMifeprex for medical abortion has been very low because of the
   restricted distribution of the product and because healthcare providers have agreed in writing to
   report any hospitalizations, transfusions, or other serious adverse events associated with the drug to
   the sponsor, which is required under FDA's regulations to report all adverse events, including
   serious adverse events, to the Agency (see 21 CFR 314.80, 314.81 ). As with all drugs, we will
   continue to closely monitor the postmarketing safety data on Mifeprex.




   published experimental data from animal models suggest that this is a theoretical possibility, the overall event
   rate of serious infections does not support this. If Mifeprex were adversely affecting immune system
   function, we would expect to see a much higher rate of serious infections from more common organisms, as
   well as a higher number of deaths in Europe (where mifepristone has been approved for over 24 years) and in
   the United States. Contrary to your statements, data from the medical literature and findings by the CDC
   suggest that the critical risk factor in the reported cases of sepsis is pregnancy itself (see Miech, RP , 2005 ,
   Pathophysiology ofMifepristone-Jnduced Septic Shock Due to Clostridium sordellii, Ann Pharmacother,
   39: I483- 1488). In May 2006, FDA, along with the CDC and the National Institute of Allergy and Infectious
   Diseases at the National Institutes of Health held a workshop on emerging clostridial disease. The issue of
   immunosuppression also was discu sed at length during this public workshop. It was clear from the
   presentations at the workshop that C. sordellii causes rapid and serious clinical illness in settings other than
   medical abortion , including among pregnant women who have recently undergone spontaneous abortion or
   tenn delivery. The fact that cases of C. sordelfii have been identified both in pregnant women who have
   undergone medical abo1iion and those who have not supports the idea that the physiology of pregnancy may
   be a more plausible risk factor for C. sordel/ii illness than having undergone a medical abortion with
   Mifeprex.

   °
   7
      FDA is aware of II additional deaths of women in foreign countries who used mifepristone for the
   tem1ination of pregnancy. This included one death associated with sepsis (Clostridium sordellii identified in
   tissue samples) in a foreign clinical trial, and I 0 deaths identified from post-marketing data. These I 0 fatal
   cases were associa ted with the following: sepsis (Group A Streptococcus pyogenes); a ruptured gastric ul cer;
   severe hemorrhage; severe hem orrhage and possible sepsis; " multivisceral fai lure''; thrombotic
   thrombocytopenic purpura leading to intracranial hemorrhage; toxic shock syndrome (Clostridium sorde/lii
   was identified through uterine biopsy cultures); asthma attack with cardiac arrest; respiratory decompensation
   wi th secondary pulmonary infection 30 days after mifepristone in a patient on the lung transplant list with
   diabetes a jejunostomy feeding tube, and severe cystic fibrosis; ClosTridium sep1icum sepsis (from a published
   literature report).




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                                                                                                       App. 000503
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 42 of 105 PageID 10005
  Docket No. FDA-2002-P-0364



  E.           Withdrawal of the Approval for Mifeprex Based on Current Use Is Not Appropriate

  You claim that Mifeprex abortion providers have disregarded the restrictions in the approved
  regimen "without any reaction from FDA, the Population Council, or Dan co" (Petition at 71 ). You
  also claim that "common departures from the approved regimen" have included (I) offering the
  regimen to women with pregnancies beyond 7 weeks and (2) eliminating the second of the three
  prescribed visits to the health care provider (Petition at 72-74). You argue that we should
  withdraw approval ofMifeprex under§ 314.530(a)(4) due to the failure ofthe Population Council
  and Danco to adhere to the postmarketing restrictions in the approval letter (Petition at 71 ).

  In the Response to Opposition, you suggest that some providers have not met their obligations
  because many prescriber Web sites (1) advertise the Mifeprex regimen as being available for
  patients whose pregnancies have progressed beyond 49 days and (2) indicate that patients take
  misoprostol at home rather than at the provider's office (Response to Opposition at 19-20). Thus,
  yoi.l maintain that many prescribers have allowed patients to make false statements and that the
  applicant is obligated to stop sales to these prescribers (id. at 20). You claim that prescribers have
  disregarded the requirements imposed with the 2000 approval of Mifeprex to provide patients with
  the Medication Guide, obtain their signatures on the Patient Agreement, and give them the
  opportunity to read and discuss these documents (id. at 20-21 ). You state that because some
  prescribers, with the applicant's tacit approval, have permitted patients to sign the Patient
  Agreement while effectively directing them not to adhere to its requirements, the applicant cannot
  be described as meeting its obligations (id. at 21 ).

  FDA is aware that medical practitioners may use modified regimens for administering Mifeprex
  and misoprostol. However, FDA does not believe that it is appropriate to initiate proceedings
  under 21 CFR 314.530 or section 505(e) ofthe FD&C Act to withdraw the approval ofMifeprex
  based on available information regarding the distribution ofMifeprex.

  The Mifeprex approval letter included nine items that the applicant and/or prescriber were
  obligated to follow. As stated earlier in this response, Mifeprex has been subject to a
  REMS which incorporated these restrictions, including by appending a Prescriber's
  Agreement outlining required qualifications and guidelines prescribers must agree to
  follow. Specifically, the Prescriber' s Agreement required each physician to attest to
  possessing certain necessary skills and abilities related to managing early pregnancy to
                              71
  ensure safe use of the drug. The Prescriber's Agreement also contained responsibilities
  that prescribers must carry out. 72 The Prescriber' s Agreement stated that prescribers must
  have read and understood the prescribing materials. 73




  71
       Prescriber's Agreement, supra note 53 , at I.

  72
       ld. at 1-2.

  73
       ld. at I.




                                                       27
                                                                                      App. 000504
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                    Page 43 of 105 PageID 10006
   Docket No. FDA-2002-P-0364


   The 2000 Prescriber's Agreement also required that the prescriber (1) provide each patient with a
   copy of the Medication Guide and the Patient Agreement, (2) fully explain the procedure to the
   patient, and (3) give the patient the opportunity to read and discuss the Medication Guide and
                       74
   Patient Agreement. The Medication Guide and the Patient Agreement stated the approved
   dosage and administration ofMifeprex. FDA has no evidence, nor have you provided any
   evidence, that prescribers have not signed the Prescriber' s Agreement, or that women either have
   not been given the opportunity to read and discuss the Patient Agreement or have not signed the
   Patient Agreement.

   As noted above, restrictions on the distribution and use ofMifeprex substantially similar to
   those approved in 2000 remain in place today.

   F.       Safeguards Employed in Clinical Trials Are Not Necessarily Essential Conditions for
            Approval

   You maintain that we effectively approved a drug regimen that we had not tested because the
   Mifeprex regimen approved in 2000 does not include important safeguards employed in the U.S.
   clinical trial (e.g., governing physician training, use of ultrasound, 4-hour post-misoprostol
   monitoring, physician privileges at facilities that provide emergency care) (Petition at 75-76). You
   argue that we should not have extrapolated conclusions about the safety and effectiveness of the
   Mifeprex regimen from data generated under trial conditions that do not mirror the approved
   regimen (id.).

   We disagree with your assertions. Furthermore, your implication that the approved conditions of
   use for a drug product must mirror those used in the clinical trials supporting its approval is
   incorrect. As discussed above with respect to ultrasound dating and physician qualifications,
   safeguards employed in clinical trials are often not reflected in approved drug product labeling nor
   are they necessarily needed for the safe and effective use of the drug product after approval. Many
   clinical trial designs are more restrictive (e.g. , additional laboratory and clinical monitoring, stricter
   inclusion and exclusion criteria, more visits) than will be necessary or recommended in
   postapproval clinical use; this additional level of caution is exercised until the safety and efficacy
   of the product is demonstrated. For example, in menopause hormonal therapy trials, specialists
   perfonn pe1iodic endometrial biopsies to establish the safety of long-tenn honnone use. Once the
   safety of the product has been established, these biopsies are not recommended in the approved
   product labeling, nor are they routinely perfom1ed in actual use with the approved product. During
   our review of the clinical data submitted in support of an NDA, we make an assessment of the
   procedures employed during the clinical trial s and the conditions under which the drug was
   studied. Thi s assessment is reflected in the approved labeling for the drug product.

   Upon reviewing the data submitted in support of the Mifeprex NDA, we concluded in 2000 that
   restrictions requiring ultrasound dating of gestational age of the pregnancy and limiting access to
   Mifeprex to physicians trained in surgical abortions and capable ofperfonning surgical
   intervention if complications arise subsequent to use ofMifeprex were not necessary to ensure its
   safe use (see discussion in section II.D above).


   74 ld.




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                                                                                          App. 000505
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                             Page 44 of 105 PageID 10007
   Docket No. FDA-2002-P-0364


   G.       FDA Appropriately Concluded That Studies ofMifeprex in Pediatric Patients Were
            Unnecessary

   You maintain that our 2000 approval of Mifeprex violated regulations requiring that new drugs be
   tested for safety and effectiveness in the pediatric population (Petition at 76). You state that
   although we stated in the September 28, 2000, approval letter that the application was subject to
   the Pediatric Rule (21 CFR 314.55), we waived the requirement without explanation (Petition at
   78). You contend that the Mifeprex application was not in accordance with any of the three
   provisions under which an applicant may obtain a waiver under 21 CFR 314.55(c)(2) of the
   pediatric study requirement, for the following reasons:

            •   21 CFR 314.55(c)(2)(i) does not apply because FDA maintained that Mifeprex
                represented a meaningful therapeutic benefit over existing treatments and because
                Mifeprex can be expected to be used in a substantial number of pediatric patients.

            •   21 CFR 314.55(c)(2)(ii) does not apply because pediatric studies ofMifeprex would not
                have been either impossible or highly impractical because a large population of
                pediatric females becomes pregnant each year and the female population is evenly
                distributed throughout the country.

            •   21 CFR 314.55(c)(2)(iii) does not apply because FDA stated that there was no reason to
                expect menstruating females under age 18 to have a different physiological outcome
                with the regimen than older females (Petition at 79-82).

   As an initial matter, we reject your contention that the Population Council did not provide evidence
   from any adequate and well-controlled adult studies ofMifeprex, and that therefore it was
   inappropriate to rely on the submitted adult studies under§ 314.55(a) with respect to the use of
   Mifeprex in the pediatric population (Petition at 82). As discussed above, the Mifeprex approval
   was based on three adequate and well-controlled clinical trials.

   Our conclusion that studies ofMifeprex in pediatric patients were not needed for approval was
   consistent with FDA's implementation of the regulations in effect at that time.75 We detennined
   that there were sufficient data from studies ofmifepristone. Therefore, the Mifeprex approval
   letter should have stated our conclusion that the pediatric study requirements were waived for pre-
   menarchal patients and that the pediatric study requirements were met for post-menarchal pediatric
                                                                                                     76
   patients, rather than stating that we were waiving the requirements for all pediatric age groups.


   75
     FDA was enj oined from enforcing 2 1 CFR § 314.55 under Ass 'n ofAm. Physicians& Surgeons v. FDA , 226
   F. Supp. 204 (D.D.C. 2002). However, on December 3, 2003, the President signed into law the Pediatric
   Research Equity Act of 2003 (PREA 2003), Public Law I 08- 155 , which gave FDA the statutory authority to
   require pediatric studies of drugs when such studi es are needed to ensure the safe and effective use of drugs in
   children. PREA 2003 stated that any waivers or deferrals that were granted under the Pediatric Rule were
   considered to be granted under PREA 2003 (see Section 4 of Public Law 108- 155).
   76
      FDA' s implementation oft he Pediatric Rul e was still at a relatively earl y stage in September 2000 and the
   Agency was not always precise regarding the language used in approval letters to distinguish between
   situations where studies were waived and where studies were not needed because the requirements were met.


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                                                                                                       App. 000506
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                              Page 45 of 105 PageID 10008
   Docket No. FDA-2002-P-0364


   It is still our scientific opinion, based on the medical literature and over 15 years of use in the
   United States, that there is no biological reason to expect menstruating females under age 18 -
   compared to women age 18 and older - to have a different physiological outcome with the
   Mifeprex regimen. 77

   H.         The Mifeprex Approval Letter Included Appropriate Phase 4 Commitments

   You state that although the Population Council agreed in 1996 to perfonn Phase 4 studies with six
   different objectives, the Mifeprex approval letter included only two Phase 4 study obligations
   (Petition at 85-86). You allege that the changes in its Phase 4 commitments were largely in
   response to the Population Council 's unwillingness to explore the "ramifications" of the Mifeprex
   regimen (Petition at 87). You maintain that thi s alleged "curtailment" of Phase 4 study
   commitments was arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with
   law (Petition at 88). 78

   We disagree with your assertions. Our process for determining the appropriate Phase 4 studies for
   Mifeprex adequately addressed our concerns and reflected typical Agency-applicant interactions to
   reach consensus on appropriate postmarketing studies.79 It is common for proposed Phase 4
   commitments to evolve during the application review process. As you note (Petition at 85), in
   1996, the Population Council committed to six postmarketing studies with the following
   objectives:




   77
     In the Mifeprex Approval Memorandum, the Office Director stated, "FDA agrees there is no biological
   reason to expect menstruating females under age 18 to have a different physiological outcome with the
   regimen. The Spitz data actually suggests a trend towards increased success of medical abortion with younger
   patients" (Mifeprex Approval Memorandum, supra note 16, at 7).

   78
        We note that post-marketing studies are not required for approvals under 2 1 CFR 3 14 .520.

   79
      You a lso state that, "[a]s a general rul e, the clinical trials req uired by FDA to support an NDA are adequate
   to establish short-term drug safety and effectiveness. The standard pre-approval clinical trials, however, are
   typically incapable of providing e ither the amount or type of data necessary to assess a drug' s longcte rm
   effects" (Petition at 84). This argument is not relevant to Mifeprex, which is approved for medical
   termination of pregnancy. Mifeprex is not approved fo r long-term or chronic use, which is an important
   factor in assessing the need to study long-term effects of a drug. Long-tenn safety fo r a single-dose
   medication is generally not a concern. However, FDA routinely monitors postmarketing safety data for all
   approved drugs. Mifeprex is no exception. FDA's Office of Surveillance and Epidemiology continuously
   monitors available safety data from use of mifepristone for tennination of pregnancy both within and outside
   of the Uni ted States and has not identified any long-tenn safety signals. The Mifeprex adverse events
   reported are consistent with product labeling and with what can be expected with spontaneous and surgical
   abortions. Furthermore, as explained in this response, si nce Mifeprex 's approval, safety concerns and adverse
   events have been monitored through enhanced surveillance and reporting b y certified prescribers, and we
   have required a REMS for Mifeprex including a Medication Guide, elements to assure safe use, an
   implementation system that requires the sponsor to assess the performance of certified distributors, and a
   timetable for submission of assessments of the REMS. We also continue to closely monitor the post-
   marketing safety of mifepristone for termination of pregnancy for any new or long-tem1 signals.




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                                                                                                        App. 000507
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                 Page 46 of 105 PageID 10009
   Docket No. FDA-2002-P-0364


          ( 1) Monitor the adequacy of the distribution and credentialing system.

          (2) Follow-up on the outcome of a representative sample of Mifeprex-treated women who
              have surgical abortion because of method failure.

          (3)   Assess the long-term effects of multiple use of the regimen.

          (4) Ascertain the frequency with which women follow the complete treatment regimen and
              the outcome of those who do not.

          (5) Study the safety and efficacy of the regimen in women under age 18, women over age
              35, and women who smoke.

          (6) Ascertain the effect of the regimen on children born after treatment failure.

   As stated in the Mifeprex Approval Memorandum (at 7), during the final review of the Mifeprex
   NDA in 2000, items 1, 2, 4, and 5 above were revised and integrated into a single Phase 4 study to
   assess whether, for providers who did not have surgical intervention skills and referred patients for
   surgery, clinical outcomes were similar to those of patients under the care of physicians (such as
   those in the clinical trials) who possessed surgical skills. Based on a revised protocol, this Phase 4
   study would monitor the adequacy of provider qualifications (item 1) and collect data on safety
   outcomes and method failures (item 2) and return of patients for their follow-up visits (item 4).
   Because patients would not be restricted to a specific age range or smoking status, information to
   address item 5 also would be obtained. In a second Phase 4 study, the applicant would examine the
   outcomes of ongoing pregnancies (i.e. , method failures) through a surveillance, reporting, and
   tracking system (item 6). Thus, although the approval letter listed only two Phase 4 studies, those
   two studies incorporated all but one element of the six studies listed in the September 18, 1996,
   approvable letter concerning the Mifeprex NDA. (As discussed below, the remaining study was not
   included for logistical and practical reasons.)

   As mentioned in section 11.0.2 above, for the first Phase 4 study, which addressed items 1, 2, 4,
   and 5 above, the applicant reported in a submission in February 2008 that so few medical ab011ions
   are prescribed by physicians who do not have surgical intervention skill s that it was not feasible to
   do a meaningful study to assess this specific issue. We agreed with the applicant regarding the
   non-feasibility of conducting a meaningful study and concluded that no differences between non-
   referrers or refen·ers in terms of clinical outcomes could be identified based on the data that had
   been submitted. In September 2008, we released the applicant from this postmarketing
   commitment.

   For the second Phase 4 study, which addressed item 6 above, based on the reporting of ongoing
   pregnancies during the first 5 years ofMifeprex distribution, the applicant provided updates in
   January 2006 and November 2007. Danco reported that only one to two pregnancies per year were
   followed for final outcomes, and explained that the small number was due, in prui, to the
   requirement that the patients consent to participation after seeking a pregnru1cy termination. In
   January 2008, because of the lack of an adequate number of enrolled women, and based on
   subsequent reports, we released the applicant from this postmarketing commitment.



                                                 31
                                                                                      App. 000508
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                             Page 47 of 105 PageID 10010
   Docket No. FDA-2002-P-0364



   In addition, as noted in the Mifeprex Approval Memorandum (at 7), we agreed with the Population
   Council both that it would not be feasible to identify and enroll sufficient numbers of repeat users
   of the drug and that the pharmacology of mifepristone does not suggest any carryover effect after
   one-time administration. Accordingly, we did not include item 3 as a Phase 4 commitment in the
   September 28, 2000, approval letter. However, we note that data from many other studies
   reported in the medical literature using mifepristone for, e.g., fibroids, uterine myoma,
   meningioma, psychiatric illnesses, and Cushing ' s disease, in much higher daily and lower daily
   doses for chronic use (months) have not raised any major safety issues. 80

   III.     REQUEST FORSTAY AND REVOCATION OF APPROVAL

   You request that we immediately stay the approval of Mifeprex, thereby halting all distribution and
   marketing of the drug pending final action on your Petition (Petition at 2). You cite 21 CFR 10.3 5
   as the basis for your request for a stay (Petition at 1). In addition, you urge us to revoke the
   approval of Mifeprex because of the purported legal violations and safety concerns set forth in
   your Petition (Petition at 2).

   As described above, we are denying your Petition. Therefore, your request for a stay pending final
   action on your Petition is moot.

   For the reasons set forth in section II of this response, we conclude that you have not presented any
   evidence that the applicable grounds in 21 CFR 314.530 have been met with respect to Mifeprex.
   Furthermore, you have not provided any evidence that any of the applicable grounds in section
   50S( e) of the FD&C Act have been met for Mifeprex. 81 Therefore, you have not provided any
   evidence that would serve as a basis for seeking to withdraw the approval ofMifeprex.




   80
      See, e.g. , Tristan, M, et al. , 201 2, Mifepristone for Uterine Fibroids (Review), Cochrane Library, 8: 1-47;
   Esteve, JL, e t a!, 20 13, Mifepristone Versus Placebo To Treat Uterine Myoma: A Double-Blind, Randomized
   Clinical Trial, Int J Womens Health, 5:361; Spitz, IM, et al. , 2005 , Management of Patients Receiving Long-
   Tem1 Treatment With Mifepristone, Fertil Steri1, 84: 1719 ; Blasey, CM, TS Block, JK Belanoff, and RL Roe,
   2011 , Efficacy and Safety ofMifepristone for the Treatment of Psychotic Depression, J Clin
   Psychophannacol, 3 1:436; Fleseriu, M. et al., 201 2, Mifepristone. a Glucocorticoid Receptor Antagonist.
   Produces Clinical and Metabolic Benefit s in Patients with Cushing's Syndrome. J Clin Endocrinol Me tab,
   97:2039.
   81
     You have not presented any clirucal data or other informati on de monstrating that Mifeprex is unsafe for use
   under its approved conditions for use, either on the basis of evidence available to the Agency at the time of
   approval or when also considering evidence obtained subsequent to approval. In addition, you have not
   provided any new evidence that, when evaluated with the e vidence available at the time ofMifeprex's
   approval, shows that there is a lack of substantial evidence that the drug will have its intended effect.




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                                                                                                       App. 000509
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                        Page 48 of 105 PageID 10011
   Docket No. FDA-2002-P-0364


   IV.     CONCLUSION

   We appreciate and share your concerns about the need to appropriately manage the risks associated
   with the use ofMifeprex. Our concerns about the potential complications associated with
   Mifeprex led to its approval in accordance with 21 CFR 314.520. It was deemed to have in effect a
                                                               82
   REMS in 2007, and it has had an approved REMS since 2011.

   For the reasons set forth above, your request that we immediately stay the approval ofMifeprex is
   moot, and we deny your request that we revoke approval of the Mifeprex NDA. In addition, we
   deny your request that we conduct an audit of all records of the French and U. S. clinical trials
   supporting the Mifeprex approval. As with all approved new drug products, we will continue to
   monitor the safety of Mifeprex and take any appropriate actions.

                                                      Sincerely,




                                                      Janet Woodcock, M.D.
                                                      Director
                                                      Center for Drug Evaluation and Research




   82
      As oftoday's approva l ofDanco' s supplemental NDA, the Medication Guide is no longer part ofthe
   REMS. However, the Medication Guide will remain as part of approved patient labeling and will be required
   to be provided to the patient under current Medication Guide regulations.




                                                      33
                                                                                                App. 000510
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 49 of 105 PageID 10012




                               EXHIBIT 23

                  2016 FDA Letter to Danco Labs




                                                                   App. 000511
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 50 of 105 PageID 10013




                                                                   App. 000512
   Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                  Page 51 of 105 PageID 10014
          NDA 020687/S-020
          Page 2


          The SPL will be accessible from publicly available labeling repositories.

          Also within 14 days, amend all pending supplemental applications that includes labeling changes
          for this NDA, including CBE supplements for which FDA has not yet issued an action letter,
          with the content of labeling [21 CFR 314.50(l)(1)(i)] in MS Word format, that includes the
          changes approved in this supplemental application, as well as annual reportable changes and
          annotate each change. To facilitate review of your submission, provide a highlighted or marked-
          up copy that shows all changes, as well as a clean Microsoft Word version. The marked-up copy
          should provide appropriate annotations, including supplement number(s) and annual report
          date(s).

          We request that the labeling approved today be available on your website within 10 days of
          receipt of this letter.

          REQUIRED PEDIATRIC ASSESSMENTS

          Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for new
          active ingredients, new indications, new dosage forms, new dosing regimens, or new routes of
          administration are required to contain an assessment of the safety and effectiveness of the
          product for the claimed indication(s) in pediatric patients unless this requirement is waived,
          deferred, or inapplicable.

          We are waiving the pediatric study requirement for pre-menarcheal patients because the use of
          this product before menarche is not indicated, and we have determined that you have fulfilled the
          pediatric study requirement for post-menarcheal patients.

          RISK EVALUATION AND MITIGATION STRATEGY REQUIREMENTS

          The REMS for Mifeprex (mifepristone) Tablets was originally approved on June 8, 2011. The
          REMS consisted of a Medication Guide, elements to assure safe use, an implementation system,
          and a timetable for submission of assessments of the REMS. Your proposed modifications to the
          REMS included revisions to both the prescriber and patient agreement forms.
          Other changes proposed in the efficacy supplement prompted additional revisions to the
          Mifeprex REMS materials. During review of this efficacy supplement, we also assessed the
          current REMS program to determine whether each Mifeprex REMS element remains necessary
          to ensure that the drug’s benefits outweigh the risks.

          After consultations between the Office of New Drugs (OND) and the Office of Surveillance and
          Epidemiology (OSE), we have determined that the approved REMS for Mifeprex should be
          modified to continue to ensure that the benefits of Mifeprex outweigh its risks and to minimize
          the burden on the healthcare delivery system of complying with the REMS. The REMS
          modifications submitted by you on March 29, 2016 are approved.

          We have determined that it is no longer necessary to include the Medication Guide as an element
          of the approved REMS to ensure that the benefits of Mifeprex outweigh its risks. The




Reference ID: 3909592
                                                                                          App. 000513
   Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                   Page 52 of 105 PageID 10015
          NDA 020687/S-020
          Page 3


          Medication Guide will continue to be part of the approved labeling in accordance with 21 CFR
          208. Like other labeling, Medication Guides are subject to the safety labeling change provisions
          of section 505(o)(4) of the FDCA.

          Your proposed modified REMS, submitted on July 17, 2015, and appended to this letter, is
          approved as amended. The modified REMS consists of elements to assure safe use (A, C and D),
          an implementation system, and a timetable for submission of assessments of the REMS.

          The timetable for submission of assessments of the REMS remains the same as that approved on
          June 8, 2011.

          The REMS assessment plan will include the information submitted to FDA on March 29, 2016.

          The revised REMS assessment plan must include, but is not limited to, the following:

          REMS Assessment Plan
            1. Number of prescribers enrolled (cumulative)
            2. Number of new prescribers enrolled during reporting period
            3. Number of prescribers ordering Mifeprex during reporting period
            4. Number of healthcare providers who attempted to order Mifeprex who were not enrolled;
               describe actions taken (during reporting period and cumulative).
            5. Number of women exposed to Mifeprex (during reporting period and cumulative)
            6. Summary and analysis of any program deviations and corrective action taken
            7. Based on the information reported, an assessment and analysis of whether the REMS is
               meeting its goals and whether modifications to the REMS are needed

          The requirements for assessments of an approved REMS under section 505-1(g)(3) include with
          respect to each goal included in the strategy, an assessment of the extent to which the approved
          strategy, including each element of the strategy, is meeting the goal or whether 1 or more such
          goals or such elements should be modified.

          We remind you that in addition to the REMS assessments submitted according to the timetable in
          the approved REMS, you must include an adequate rationale to support any proposed REMS
          modification for the addition, modification, or removal of any of goal or element of the REMS,
          as described in section 505-1(g)(4) of the FDCA.

          We also remind you that you must submit a REMS assessment when you submit any future
          supplemental application for a new indication for use as described in section 505-1(g)(2)(A) of
          the FDCA. This assessment should include:
               a) An evaluation of how the benefit-risk profile will or will not change with the new
                  indication;
               b) A determination of the implications of a change in the benefit-risk profile for the current
                  REMS;




Reference ID: 3909592
                                                                                            App. 000514
   Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                   Page 53 of 105 PageID 10016
          NDA 020687/S-020
          Page 4


               c) If the new indication for use introduces unexpected risks: A description of those risks
                  and an evaluation of whether those risks can be appropriately managed with the currently
                  approved REMS.
               d) If a REMS assessment was submitted in the 18 months prior to submission of the
                  supplemental application for a new indication for use: A statement about whether the
                  REMS was meeting its goals at the time of that the last assessment and if any
                  modifications of the REMS have been proposed since that assessment.
               e) If a REMS assessment has not been submitted in the 18 months prior to submission of the
                  supplemental application for a new indication for use: Provision of as many of the
                  currently listed assessment plan items as is feasible.
               f) If you propose a REMS modification based on a change in the benefit-risk profile or
                  because of the new indication of use, submit an adequate rationale to support the
                  modification, including: Provision of the reason(s) why the proposed REMS
                  modification is necessary, the potential effect on the serious risk(s) for which the REMS
                  was required, on patient access to the drug, and/or on the burden on the health care
                  delivery system; and other appropriate evidence or data to support the proposed change.
                  Additionally, include any changes to the assessment plan necessary to assess the
                  proposed modified REMS. If you are not proposing REMS modifications, provide a
                  rationale for why the REMS does not need to be modified.

          If the assessment instruments and methodology for your REMS assessments are not included in
          the REMS supporting document, or if you propose changes to the submitted assessment
          instruments or methodology, you should update the REMS supporting document to include
          specific assessment instrument and methodology information at least 90 days before the
          assessments will be conducted. Updates to the REMS supporting document may be included in a
          new document that references previous REMS supporting document submission(s) for
          unchanged portions. Alternatively, updates may be made by modifying the complete previous
          REMS supporting document, with all changes marked and highlighted. Prominently identify the
          submission containing the assessment instruments and methodology with the following wording
          in bold capital letters at the top of the first page of the submission:

                  NDA 020687 REMS CORRESPONDENCE
                  (insert concise description of content in bold capital letters, e.g.,
                  UPDATE TO REMS SUPPORTING DOCUMENT - ASSESSMENT
                  METHODOLOGY

          An authorized generic drug under this NDA must have an approved REMS prior to marketing.
          Should you decide to market, sell, or distribute an authorized generic drug under this NDA,
          contact us to discuss what will be required in the authorized generic drug REMS submission.

          We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved covered
          application with elements to assure safe use from using any element to block or delay approval
          of an application under section 505(b)(2) or (j). A violation of this provision in 505-1(f) could
          result in enforcement action.




Reference ID: 3909592
                                                                                            App. 000515
   Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                   Page 54 of 105 PageID 10017
          NDA 020687/S-020
          Page 5


          Prominently identify any submission containing the REMS assessments or proposed
          modifications of the REMS with the following wording in bold capital letters at the top of the
          first page of the submission as appropriate:

                  NDA 020687 REMS ASSESSMENT

                  NEW SUPPLEMENT FOR NDA 020687/S-000
                  CHANGES BEING EFFECTED IN 30 DAYS
                  PROPOSED MINOR REMS MODIFICATION

                                or

                  NEW SUPPLEMENT FOR NDA 020687/S-000
                  PRIOR APPROVAL SUPPLEMENT
                  PROPOSED MAJOR REMS MODIFICATION

                                or

                  NEW SUPPLEMENT FOR NDA 020687/S-000
                  PRIOR APPROVAL SUPPLEMENT
                    PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABEL CHANGES
                    SUBMITTED IN SUPPLEMENT XXX

                                or

                  NEW SUPPLEMENT (NEW INDICATION FOR USE)
                    FOR NDA 020687/S-000
                           REMS ASSESSMENT
                           PROPOSED REMS MODIFICATION (if included)

          Should you choose to submit a REMS revision, prominently identify the submission containing
          the REMS revisions with the following wording in bold capital letters at the top of the first page
          of the submission:

                  REMS REVISIONS FOR NDA 020687

          To facilitate review of your submission, we request that you submit your proposed modified
          REMS and other REMS-related materials in Microsoft Word format. If certain documents, such
          as enrollment forms, are only in PDF format, they may be submitted as such, but the preference
          is to include as many as possible in Word format.

          If you do not submit electronically, please send 5 copies of REMS-related submissions.




Reference ID: 3909592
                                                                                           App. 000516
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 55 of 105 PageID 10018




                                                                   App. 000517
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24         Page 56 of 105 PageID 10019
                                   NDA 020687/S-020
                                   Page 7




                                   ENCLOSURES:
                                     Content of Labeling
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                         Reference ID: 3909592
                                                                         App. 000518
       Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24               Page 57 of 105 PageID 10020
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Reference ID: 3909592
                                                                                           App. 000519
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 58 of 105 PageID 10021




                               EXHIBIT 24

                       2000 MIFEPREX™ Label




                                                                   App. 000520
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 59 of 105 PageID 10022



    MIFEPREX™ (mifepristone) Tablets, 200 mg
    For Oral Administration Only



    If Mifeprex* results in incomplete abortion, surgical intervention may be necessary.
    Prescribers should determine in advance whether they will provide such care themselves
    or through other providers. Prescribers should also give patients clear instructions on
    whom to call and what to do in the event of an emergency following administration of
    Mifeprex.

    Prescribers should make sure that patients receive and have an opportunity to discuss the
    Medication Guide and the PATIENT AGREEMENT.


    DESCRIPTION

    Mifeprex tablets each contain 200 mg of mifepristone, a synthetic steroid with
    antiprogestational effects. The tablets are light yellow in color, cylindrical and biconvex,
    and are intended for oral administration only. The tablets include the inactive ingredients
    colloidal silica anhydrous, corn starch, povidone, microcrystalline cellulose, and
    magnesium stearate.

    Mifepristone is a substituted 19-nor steroid compound chemically designated as 11ß-[p-
    (Dimethylamino)phenyl]-17ß-hydroxy-17-(1-propynyl)estra-4,9-dien-3-one. Its
    empirical formula is C29H35NO2. Its structural formula is:




    The compound is a yellow powder with a molecular weight of 429.6 and a melting point
    of 191-196°C. It is very soluble in methanol, chloroform and acetone and poorly soluble
    in water, hexane and isopropyl ether.

    * Mifeprex is a trademark of Danco Laboratories, LLC.




                                                                                     App. 000521
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24              Page 60 of 105 PageID 10023




    CLINICAL PHARMACOLOGY

    Pharmacodynamic Activity

    The anti-progestational activity of mifepristone results from competitive interaction with
    progesterone at progesterone-receptor sites. Based on studies with various oral doses in
    several animal species (mouse, rat, rabbit and monkey), the compound inhibits the
    activity of endogenous or exogenous progesterone. The termination of pregnancy results.

    Doses of 1 mg/kg or greater of mifepristone have been shown to antagonize the
    endometrial and myometrial effects of progesterone in women. During pregnancy, the
    compound sensitizes the myometrium to the contraction-inducing activity of
    prostaglandins.

    Mifepristone also exhibits antiglucocorticoid and weak antiandrogenic activity. The
    activity of the glucocorticoid dexamethasone in rats was inhibited following doses of 10
    to 25 mg/kg of mifepristone. Doses of 4.5 mg/kg or greater in human beings resulted in a
    compensatory elevation of adrenocorticotropic hormone (ACTH) and cortisol.
    Antiandrogenic activity was observed in rats following repeated administration of doses
    from 10 to 100 mg/kg.

    Pharmacokinetics and Metabolism

    Absorption

    Following oral administration of a single dose of 600 mg, mifepristone is rapidly
    absorbed, with a peak plasma concentration of 1.98 mg/l occurring approximately 90
    minutes after ingestion. The absolute bioavailability of a 20 mg oral dose is 69%.

    Distribution

    Mifepristone is 98% bound to plasma proteins, albumin and α1-acid glycoprotein.
    Binding to the latter protein is saturable, and the drug displays nonlinear kinetics with
    respect to plasma concentration and clearance. Following a distribution phase,
    elimination of mifepristone is slow at first (50% eliminated between 12 and 72 hours) and
    then becomes more rapid with a terminal elimination half-life of 18 hours.




                                                                                   App. 000522
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                 Page 61 of 105 PageID 10024




    Metabolism

      Metabolism of mifepristone is primarily via pathways involving N-demethylation and
    terminal hydroxylation of the 17-propynyl chain. In vitro studies have shown that
    CYP450 3A4 is primarily responsible for the metabolism. The three major metabolites
    identified in humans are: (1) RU 42 633, the most widely found in plasma, is the N-
    monodemethylated metabolite; (2) RU 42 848, which results from the loss of two methyl
    groups from the 4-dimethylaminophenyl in position 11ß; and (3) RU 42 698, which
    results from terminal hydroxylation of the 17-propynyl chain.

    Excretion

    By 11 days after a 600 mg dose of tritiated compound, 83% of the drug has been
    accounted for by the feces and 9% by the urine. Serum levels are undetectable by 11
    days.

    Special Populations

    The effects of age, hepatic disease and renal disease on the safety, efficacy and
    pharmacokinetics of mifepristone have not been investigated.

    Clinical Studies

    Safety and efficacy data from the U.S. clinical trials and from two French trials of
    mifepristone are reported below. The U.S. trials provide safety data on 859 women and
    efficacy data on 827 women with gestation durations of 49 days or less (dated from the
    first day of the last menstrual period). In the two French clinical trials, safety evaluable
    data are available for 1800 women, while efficacy information is available for 1681 of
    these women. Success was defined as the complete expulsion of the products of
    conception without the need for surgical intervention. The overall rates of success and
    failure, shown by reason for failure, for the U.S. and French studies appear in Table 1.

    In the U.S. trials, 92.1% of the 827 subjects had a complete medical abortion, as shown in
    Table 1. In 52 women (6.3%) expulsion occurred within two days, and resulted from the
    action of mifepristone (600 mg) alone, unaided by misoprostol, an analog of
    prostaglandin E2. All other women without an apparent expulsion took a 400 µg dose of
    misoprostol two days after taking mifepristone. Many women (44.1%) in the U.S. trials
    expelled the products of conception within four hours after taking misoprostol and 62.8%
    experienced expulsion within 24 hours after the misoprostol administration. There were
    65 women (7.9%) who received surgical interventions: 13 (1.6%) were medically
    indicated interventions during the study period, mostly for excessive bleeding; five
    (0.6%) interventions occurred at the patient’s request; 39 women (4.7%) had incomplete
    abortions at the end of the study protocol; and eight (1.0%) had ongoing pregnancies at
    the end of the study protocol.




                                                                                        App. 000523
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24              Page 62 of 105 PageID 10025



    Women who participated in the U.S. trials reflect the racial and ethnic composition of
    American women. The majority of women (71.4%) were Caucasian, while 11.3% were
    African American, 10.9% were East Asian, and 4.7% were Hispanic. A small percentage
    (1.7%) belonged to other racial or ethnic groups. Women aged 18 to 45 were enrolled in
    the trials. Nearly two-thirds (66.0%) of the women were under 30 years old with a mean
    age of 27 years.

    In the French trials, complete medical abortion occurred in 95.5% of the 1681 subjects, as
    shown in Table 1. In 89 women (5.3%), complete abortion occurred within two days of
    taking mifepristone (600 mg). About half of the women (50.3%) in the French trials
    expelled the products of conception during the first four hours immediately following
    administration of misoprostol and 72.3% experienced expulsion within 24 hours after
    taking misoprostol. In total, 4.5% of women in the French trials ultimately received
    surgical intervention for excessive bleeding, incomplete abortions, or ongoing
    pregnancies at the end of the protocol.




                                                                                   App. 000524
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24             Page 63 of 105 PageID 10026



                                            Table 1

                                   Outcome Following
         Treatment with Mifepristone and Misoprostol in the U.S. and French Trials


                                                      U.S. Trials        French Trials
                                                      N        %          N          %
 Complete medical abortion                        762        92.1        1605      95.5
 Timing of expulsion
     Before second visit                              52      (6.3)       89       (5.3)

     During second visit
     – less than 4 hrs after misoprostol          365        (44.1)      846      (50.3)

     After second visit
     – greater than 4 hrs but less than 24 hrs
         after misoprostol                        155        (18.7)      370      (22.0)
     – greater than 24 hrs after misoprostol       68         (8.2)      145       (8.6)

     Time of expulsion unknown                    122        (14.8)      155       (9.2)


 Surgical intervention                                65       7.9        76         4.5
   Reason for surgery
     Medically necessary interventions during
       the study period                           13         (1.6)       NA        (NA)
     Patient request                               5         (0.6)       NA        (NA)
     Treatment of bleeding during study           NA         (NA)         6        (0.3)
     Incomplete expulsion at study end            39         (4.7)       48        (2.9)
     Ongoing pregnancy at study end                8         (1.0)       22        (1.3)


 Total                                            827         100        1681        100

    Note: Mifepristone 600 mg oral was administered on Day 1, misoprostol 400 µg oral
    was given on Day 3 (second visit).




                                                                                App. 000525
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24              Page 64 of 105 PageID 10027




    INDICATION AND USAGE

    Mifeprex is indicated for the medical termination of intrauterine pregnancy through 49
    days’ pregnancy. For purposes of this treatment, pregnancy is dated from the first day of
    the last menstrual period in a presumed 28 day cycle with ovulation occurring at mid-
    cycle. The duration of pregnancy may be determined from menstrual history and by
    clinical examination. Ultrasonographic scan should be used if the duration of pregnancy
    is uncertain, or if ectopic pregnancy is suspected.

    Any intrauterine device (“IUD”) should be removed before treatment with Mifeprex
    begins.

    Patients taking Mifeprex must take 400 µg of misoprostol two days after taking
    mifepristone unless a complete abortion has already been confirmed before that time (see
    DOSAGE AND ADMINISTRATION).

    Pregnancy termination by surgery is recommended in cases when Mifeprex and
    misoprostol fail to cause termination of intrauterine pregnancy (see PRECAUTIONS).

    CONTRAINDICATIONS

    Administration of Mifeprex and misoprostol for the termination of pregnancy (the
    “treatment procedure”) is contraindicated in patients with any one of the following
    conditions:

       -   Confirmed or suspected ectopic pregnancy or undiagnosed adnexal mass (the
           treatment procedure will not be effective to terminate an ectopic pregnancy);
       -   IUD in place (see INDICATION AND USAGE);
       -   Chronic adrenal failure;
       -   Concurrent long-term corticosteroid therapy;
       -   History of allergy to mifepristone, misoprostol or other prostaglandin;
       -   Hemorrhagic disorders or concurrent anticoagulant therapy;
       -   Inherited porphyrias.

    Because it is important to have access to appropriate medical care if an emergency
    develops, the treatment procedure is contraindicated if a patient does not have adequate
    access to medical facilities equipped to provide emergency treatment of incomplete
    abortion, blood transfusions, and emergency resuscitation during the period from the first
    visit until discharged by the administering physician.

    Mifeprex also should not be used by any patient who may be unable to understand the
    effects of the treatment procedure or to comply with its regimen. Patients should be
    instructed to review the Medication Guide and the PATIENT AGREEMENT provided
    with Mifeprex carefully and should be given a copy of the product label for their review.




                                                                                   App. 000526
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 65 of 105 PageID 10028



    Patients should discuss their understanding of these materials with their health care
    providers, and retain the Medication Guide for later reference (see PRECAUTIONS).

    WARNINGS
    (see CONTRAINDICATIONS)

    1. Bleeding

    Vaginal bleeding occurs in almost all patients during the treatment procedure. According
    to data from the U.S. and French trials, women should expect to experience bleeding or
    spotting for an average of nine to 16 days, while up to 8% of all subjects may experience
    some type of bleeding for 30 days or more. Bleeding was reported to last for 69 days in
    one patient in the French trials. In general the duration of bleeding and spotting increased
    as the duration of the pregnancy increased.

    In some cases, excessive bleeding may require treatment by vasoconstrictor drugs,
    curettage, administration of saline infusions, and/or blood transfusions. In the U.S. trials,
    4.8% of subjects received administration of uterotonic medications and nine women
    (1.0%) received intravenous fluids. Vasoconstrictor drugs were used in 4.3% of all
    subjects in the French trials, and in 5.5% of women there was a decrease in hemoglobin
    of more than 2 g/dL. Blood transfusions were administered in one of 859 subjects in the
    U.S. trials and in two of 1800 subjects in the French trials. Since heavy bleeding
    requiring curettage occurs in about 1% of patients, special care should be given to
    patients with hemostatic disorders, hypocoagulability, or severe anemia.

    2. Confirmation of Pregnancy Termination

    Patients should be scheduled for and return for a follow-up visit at approximately 14 days
    after administration of mifepristone to confirm that the pregnancy is completely
    terminated and to assess the degree of bleeding. Vaginal bleeding is not evidence of the
    termination of pregnancy. Termination can be confirmed by clinical examination or
    ultrasonographic scan. Lack of bleeding following treatment, however, usually indicates
    failure. Medical abortion failures should be managed with surgical termination.

    PRECAUTIONS

    General

    Mifeprex is available only in single dose packaging. Administration must be under the
    supervision of a qualified physician (see DOSAGE AND ADMINISTRATION).

    The use of Mifeprex is assumed to require the same preventive measures as those taken
    prior to and during surgical abortion to prevent rhesus immunization.

    There are no data on the safety and efficacy of mifepristone in women with chronic
    medical conditions such as cardiovascular, hypertensive, hepatic, respiratory or renal




                                                                                      App. 000527
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24               Page 66 of 105 PageID 10029



    disease; insulin-dependent diabetes mellitus; severe anemia or heavy smoking. Women
    who are more than 35 years of age and who also smoke 10 or more cigarettes per day
    should be treated with caution because such patients were generally excluded from
    clinical trials of mifepristone.

    Although there is no clinical evidence, the effectiveness of Mifeprex may be lower if
    misoprostol is administered more than two days after mifepristone administration.

    Information for Patients

    Patients should be fully advised of the treatment procedure and its effects. Patients
    should be given a copy of the Medication Guide and the PATIENT AGREEMENT.
    (Additional copies of the Medication Guide and the PATIENT AGREEMENT are
    available by contacting Danco Laboratories at 1-877-4 Early Option) (1-877-432-7596).
    Patients should be advised to review both the Medication Guide and the PATIENT
    AGREEMENT, and should be given the opportunity to discuss them and obtain answers
    to any questions they may have. Each patient must understand:

       -   the necessity of completing the treatment schedule, including a follow-up visit
           approximately 14 days after taking Mifeprex;
       -   that vaginal bleeding and uterine cramping probably will occur;
       -   that prolonged or heavy vaginal bleeding is not proof of a complete expulsion;
       -   that if the treatment fails, there is a risk of fetal malformation;
       -   that medical abortion treatment failures are managed by surgical termination; and
       -   the steps to take in an emergency situation, including precise instructions and a
           telephone number that she can call if she has any problems or concerns.

    Another pregnancy can occur following termination of pregnancy and before resumption
    of normal menses. Contraception can be initiated as soon as the termination of the
    pregnancy has been confirmed, or before the woman resumes sexual intercourse.

    Patient information is included with each package of Mifeprex (see Medication Guide).

    Laboratory Tests

    Clinical examination is necessary to confirm the complete termination of pregnancy after
    the treatment procedure. Changes in quantitative human Chorionic Gonadotropin (hCG)
    levels will not be decisive until at least 10 days after the administration of Mifeprex. A
    continuing pregnancy can be confirmed by ultrasonographic scan.

    The existence of debris in the uterus following the treatment procedure will not
    necessarily require surgery for its removal.

    Decreases in hemoglobin concentration, hematocrit and red blood cell count occur in
    some women who bleed heavily. Hemoglobin decreases of more than 2 g/dL occurred in
    5.5% of subjects during the French clinical trials of mifepristone and misoprostol.




                                                                                       App. 000528
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 67 of 105 PageID 10030




    Clinically significant changes in serum enzyme (serum glutamic oxaloacetic
    transaminase (SGOT), serum glutamic pyruvic transaminase (SGPT), alkaline
    phosphatase, gamma-glutamyltransferase (GT)) activities were rarely reported.

    Drug Interactions

    Although specific drug or food interactions with mifepristone have not been studied, on
    the basis of this drug’s metabolism by CYP 3A4, it is possible that ketoconazole,
    itraconazole, erythromycin, and grapefruit juice may inhibit its metabolism (increasing
    serum levels of mifepristone). Furthermore, rifampin, dexamethasone, St. John’s Wort,
    and certain anticonvulsants (phenytoin, phenobarbital, carbamazepine) may induce
    mifepristone metabolism (lowering serum levels of mifepristone).

    Based on in vitro inhibition information, coadministration of mifepristone may lead to an
    increase in serum levels of drugs that are CYP 3A4 substrates. Due to the slow
    elimination of mifepristone from the body, such interaction may be observed for a
    prolonged period after its administration. Therefore, caution should be exercised when
    mifepristone is administered with drugs that are CYP 3A4 substrates and have narrow
    therapeutic range, including some agents used during general anesthesia.

    Carcinogenesis, Mutagenesis, Impairment of Fertility

    No long-term studies to evaluate the carcinogenic potential of mifepristone have been
    performed. Results from studies conducted in vitro and in animals have revealed no
    genotoxic potential for mifepristone. Among the tests carried out were: Ames test with
    and without metabolic activation; gene conversion test in Saccharomyces cerevisiae D4
    cells; forward mutation in Schizosaccharomyces pompe P1 cells; induction of
    unscheduled DNA synthesis in cultured HeLa cells; induction of chromosome aberrations
    in CHO cells; in vitro test for gene mutation in V79 Chinese hamster lung cells; and
    micronucleus test in mice.

    The pharmacological activity of mifepristone disrupts the estrus cycle of animals,
    precluding studies designed to assess effects on fertility during drug administration.
    Three studies have been performed in rats to determine whether there were residual
    effects on reproductive function after termination of the drug exposure.

    In rats, administration of the lowest oral dose of 0.3 mg/kg/day caused severe disruption
    of the estrus cycles for the three weeks of the treatment period. Following resumption of
    the estrus cycle, animals were mated and no effect on reproductive performance was
    observed. In a neonatal exposure study in rats, the administration of a subcutaneous dose
    of mifepristone up to 100 mg/kg on the first day after birth had no adverse effect on
    future reproductive function in males or females. The onset of puberty was observed to
    be slightly premature in female rats neonatally exposed to mifepristone. In a separate
    study in rats, oviduct and ovary malformations in female rats, delayed male puberty,




                                                                                     App. 000529
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24              Page 68 of 105 PageID 10031



    deficient male sexual behavior, reduced testicular size, and lowered ejaculation frequency
    were noted after exposure to mifepristone (1 mg every other day) as neonates.


    Pregnancy

    Mifepristone is indicated for use in the termination of pregnancy (through 49 days’
    pregnancy) and has no other approved indication for use during pregnancy.

    Teratogenic Effects

    Human Data

    Over 620,000 women in Europe have taken mifepristone in combination with a
    prostaglandin to terminate pregnancy. Among these 620,000 women, about 415,000
    have received mifepristone together with misoprostol. As of May 2000 a total of 82
    cases have been reported in which women with on-going pregnancies after using
    mifepristone alone or mifepristone followed by misoprostol declined to have a surgical
    procedure at that time. These cases are summarized in Table 2.

                                                Table 2

    Reported Cases (as of May 2000) of On-going Pregnancies Not Terminated by
    Surgical
               Abortion at the End of Treatment with Mifepristone Alone
                            or with Mifepristone-Misoprostol


                                                   Mifepristone Mifepristone-         Total
                                                    Alone        Misoprostol

    Subsequently had surgical abortion                 3                7             10
     No abnormalities detected                         2                7              9
     Abnormalities detected                            1                0              1
       (sirenomelia, cleft palate)

    Subsequently resulted in live birth              13                13             26
     No abnormalities detected at birth              13                13             26
     Abnormalities detected at birth                  0                 0              0



    Other/Unknown                                    26               20             46


    Total                                            42                40             82




                                                                                   App. 000530
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 69 of 105 PageID 10032




    Several reports in the literature indicate that prostaglandins, including misoprostol, may
    have teratogenic effects in human beings. Skull defects, cranial nerve palsies, delayed
    growth and psychomotor development, facial malformation and limb defects have all
    been reported after exposure during the first trimester.

    Animal Data

    Teratology studies in mice, rats and rabbits at doses of 0.25 to 4.0 mg/kg (less than 1/100
    to approximately 1/3 the human exposure level based on body surface area) were carried
    out. Because of the antiprogestational activity of mifepristone, fetal losses were much
    higher than in control animals. Skull deformities were detected in rabbit studies at
    approximately 1/6 the human exposure, although no teratogenic effects of mifepristone
    have been observed to date in rats or mice. These deformities were most likely due to the
    mechanical effects of uterine contractions resulting from decreased progesterone levels.

    Nonteratogenic Effects

    The indication for use of Mifeprex in conjunction with misoprostol is for the termination
    of pregnancy through 49 days' duration of pregnancy (as dated from the first day of the
    last menstrual period). These drugs together disrupt pregnancy by causing decidual
    necrosis, myometrial contractions and cervical softening, leading to the expulsion of the
    products of conception.




                                                                                     App. 000531
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24               Page 70 of 105 PageID 10033




    Nursing Mothers

    It is not known whether mifepristone is excreted in human milk. Many hormones with a
    similar chemical structure, however, are excreted in breast milk. Since the effects of
    mifepristone on infants are unknown, breast-feeding women should consult with their
    health care provider to decide if they should discard their breast milk for a few days
    following administration of the medications.

    Pediatric Use

    Safety and effectiveness in pediatric patients have not been established.

    ADVERSE REACTIONS

    The treatment procedure is designed to induce the vaginal bleeding and uterine cramping
    necessary to produce an abortion. Nearly all of the women who receive Mifeprex and
    misoprostol will report adverse reactions, and many can be expected to report more than
    one such reaction. About 90% of patients report adverse reactions following
    administration of misoprostol on day three of the treatment procedure. Those adverse
    events that occurred with a frequency greater than 1% in the U.S. and French trials are
    shown in Table 3.

    Bleeding and cramping are expected consequences of the action of Mifeprex as used in
    the treatment procedure. Following administration of mifepristone and misoprostol in the
    French clinical studies, 80 to 90% of women reported bleeding more heavily than they do
    during a heavy menstrual period (see WARNINGS, Bleeding for additional information).
    Women also typically experience abdominal pain, including uterine cramping. Other
    commonly reported side effects were nausea, vomiting and diarrhea. Pelvic pain,
    fainting, headache, dizziness, and asthenia occurred rarely. Some adverse reactions
    reported during the four hours following administration of misoprostol were judged by
    women as being more severe than others: the percentage of women who considered any
    particular adverse event as severe ranged from 2 to 35% in the U.S. and French trials.
    After the third day of the treatment procedure, the number of reports of adverse reactions
    declined progressively in the French trials, so that by day 14, reports were rare except for
    reports of bleeding and spotting.




                                                                                     App. 000532
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24               Page 71 of 105 PageID 10034




                                             Table 3

             Type of Reported Adverse Events Following Administration of
        Mifepristone and Misoprostol in the U.S. and French Trials* (percentages)


                                                          U.S. Trials     French Trials


   Abdominal Pain (cramping)                                     96            NA
   Uterine cramping                                              NA            83
   Nausea                                                        61            43
   Headache                                                      31             2
   Vomiting                                                      26            18
   Diarrhea                                                      20            12
   Dizziness                                                     12             1
   Fatigue                                                       10            NA
   Back pain                                                      9            NA
   Uterine hemorrhage                                             5            NA
   Fever                                                          4            NA
   Viral infections                                               4            NA
   Vaginitis                                                      3            NA
   Rigors (chills/shaking)                                        3            NA
   Dyspepsia                                                      3            NA
   Insomnia                                                       3            NA
   Asthenia                                                       2             1
   Leg pain                                                       2            NA
   Anxiety                                                        2            NA
   Anemia                                                         2            NA
   Leukorrhea                                                     2            NA
   Sinusitis                                                      2            NA
   Syncope                                                        1            NA
   Decrease in hemoglobin greater than 2 g/dL                    NA             6
   Pelvic pain                                                   NA             2
   Fainting                                                      NA             2



   *   Only adverse reactions with incidence >1% are included.

    OVERDOSAGE



                                                                               App. 000533
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24               Page 72 of 105 PageID 10035




    No serious adverse reactions were reported in tolerance studies in healthy non-pregnant
    female and healthy male subjects where mifepristone was administered in single doses
    greater than threefold that recommended for termination of pregnancy. If a patient
    ingests a massive overdose, she should be observed closely for signs of adrenal failure.

    The oral acute lethal dose of mifepristone in the mouse, rat and dog is greater than 1000
    mg/kg (about 100 times the human dose recommended for termination of pregnancy).

    DOSAGE AND ADMINISTRATION

    Treatment with Mifeprex and misoprostol for the termination of pregnancy requires three
    office visits by the patient. Mifeprex should be prescribed only by physicians who have
    read and understood the prescribing information. Mifeprex may be administered only in
    a clinic, medical office, or hospital, by or under the supervision of a physician, able to
    assess the gestational age of an embryo and to diagnose ectopic pregnancies. Physicians
    must also be able to provide surgical intervention in cases of incomplete abortion or
    severe bleeding, or have made plans to provide such care through others, and be able to
    assure patient access to medical facilities equipped to provide blood transfusions and
    resuscitation, if necessary.

    Day One: Mifeprex Administration

    Patients must read the Medication Guide and read and sign the PATIENT AGREEMENT
    before Mifeprex is administered.

    Three 200 mg tablets (600 mg) of Mifeprex are taken in a single oral dose.

    Day Three: Misoprostol Administration

    The patient returns to the healthcare provider two days after ingesting Mifeprex. Unless
    abortion has occurred and has been confirmed by clinical examination or
    ultrasonographic scan, the patient takes two 200 µg tablets (400 µg) of misoprostol
    orally.

    During the period immediately following the administration of misoprostol, the patient
    may need medication for cramps or gastrointestinal symptoms (see ADVERSE
    REACTIONS). The patient should be given instructions on what to do if significant
    discomfort, excessive bleeding or other adverse reactions occur and should be given a
    phone number to call if she has questions following the administration of the misoprostol.
    In addition, the name and phone number of the physician who will be handling
    emergencies should be provided to the patient.




                                                                                    App. 000534
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24                Page 73 of 105 PageID 10036



    Day 14: Post-Treatment Examination

    Patients will return for a follow-up visit approximately 14 days after the administration of
    Mifeprex. This visit is very important to confirm by clinical examination or
    ultrasonographic scan that a complete termination of pregnancy has occurred.

    According to data from the U.S. and French studies, women should expect to experience
    bleeding or spotting for an average of nine to 16 days. Up to 8% of women may
    experience some type of bleeding for more than 30 days. Persistence of heavy or
    moderate vaginal bleeding at this visit, however, could indicate an incomplete abortion.

    Patients who have an ongoing pregnancy at this visit have a risk of fetal malformation
    resulting from the treatment. Surgical termination is recommended to manage medical
    abortion treatment failures (see PRECAUTIONS, Pregnancy).

    Adverse events, such as hospitalization, blood transfusion, ongoing pregnancy, or other
    major complications following the use of Mifeprex and misoprostol must be reported to
    Danco Laboratories. Please provide a brief clinical and administrative synopsis of any
    such adverse events in writing to:

    Medical Director
    Danco Laboratories, LLC
    P.O. Box 4816
    New York, NY 10185
    1-877-4-Early Option (1-877-432-7596)

    For immediate consultation 24 hours a day, 7 days a week with an expert in mifepristone,
    call Danco Laboratories at 1-877-4 Early Option (1-877-432-7596).

    HOW SUPPLIED

    Mifeprex will be supplied only to licensed physicians who sign and return a Prescriber’s
    Agreement. Distribution of Mifeprex will be subject to specific requirements imposed by
    the distributor, including procedures for storage, dosage tracking, damaged product
    returns and other matters. Mifeprex is a prescription drug, although it will not be
    available to the public through licensed pharmacies.

    Mifeprex is supplied as light yellow, cylindrical, bi-convex tablets imprinted on one side
    with “MF.” Each tablet contains 200 mg of mifepristone. Tablets are packaged in single
    dose blister packets containing three tablets and are supplied in individual cartons
    (National Drug Code 6487500103).

    Store at 250C (770F); excursions permitted to 15-300C (59-860F) [see USP Controlled
    Room Temperature].

    Manufactured for:




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Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 74 of 105 PageID 10037



    Danco Laboratories, LLC
    P.O. Box 4816
    New York, NY 10185
    1-877-4 Early Option (1-877-432-7596)
    www.earlyoptionpill.com




                                                                   App. 000536
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 75 of 105 PageID 10038




                               EXHIBIT 25

      2023 Mifeprex Prescribing and Label Information




                                                                   App. 000537
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 76 of 105 PageID 10039




                                                                   App. 000538
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 77 of 105 PageID 10040




                                                                   App. 000539
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 78 of 105 PageID 10041




                                                                   App. 000540
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 79 of 105 PageID 10042




                                                                   App. 000541
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 80 of 105 PageID 10043




                                                                   App. 000542
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 81 of 105 PageID 10044




                                                                   App. 000543
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 82 of 105 PageID 10045




                                                                   App. 000544
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 83 of 105 PageID 10046




                                                                   App. 000545
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 84 of 105 PageID 10047




                                                                   App. 000546
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 85 of 105 PageID 10048




                                                                   App. 000547
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 86 of 105 PageID 10049




                                                                   App. 000548
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 87 of 105 PageID 10050




                                                                   App. 000549
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 88 of 105 PageID 10051




                                                                   App. 000550
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 89 of 105 PageID 10052




                                                                   App. 000551
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 90 of 105 PageID 10053




                                                                   App. 000552
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 91 of 105 PageID 10054




                                                                   App. 000553
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 92 of 105 PageID 10055




                                                                   App. 000554
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 93 of 105 PageID 10056




                                                                   App. 000555
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 94 of 105 PageID 10057




                                                                   App. 000556
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 95 of 105 PageID 10058




                               EXHIBIT 26

 Chen, Mifepristone with Buccal Misoprostol for Medical
   Abortion 126 Obstetrics & Gynecology 12 (Jul. 2015)




                                                                   App. 000557
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 96 of 105 PageID 10059




                                                                   App. 000558
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 97 of 105 PageID 10060




                                                                   App. 000559
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 98 of 105 PageID 10061




                                                                   App. 000560
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 99 of 105 PageID 10062




                                                                   App. 000561
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 100 of 105 PageID 10063




                                                                   App. 000562
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 101 of 105 PageID 10064




                                                                   App. 000563
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 102 of 105 PageID 10065




                                                                   App. 000564
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 103 of 105 PageID 10066




                                                                   App. 000565
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 104 of 105 PageID 10067




                                                                   App. 000566
Case 2:22-cv-00223-Z Document 195-3 Filed 10/11/24   Page 105 of 105 PageID 10068




                                                                   App. 000567
